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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

LAUREL GARDENS, LLC, AMERICAN
WINTER SERVICES, LLC, LAUREL GARDEN
HOLDINGS, LLC, LGSM, GP, and CHARLES P. : C.A. No.

GAUDIOSO

Plaintiffs .

vs. : JURY TRIAL DEMANDED

TIMOTHY McKENNA, :
MICHAEL McKENNA, : CIVIL ACTION COMPLAINT
MAT SITE MANAGEMENT, LLC, :
BOBBY AERENSON, : 1. AIDING AND ABETTING
GREGORY PETTINARO, : BREACH OF FIDUCIARY
BERNARD MEYERS, : DUTY;
CHARLES WILKINSON, ' 2. CIVIL CONSPIRACY;
WILKINSON BUILDERS, LLC, : 3. CIVIL RICO
TECHNIVATE, INC., : 18 U.S.C. §1962(0);
THOMAS DiDONATO, : 4. CIVIL RICO
KEVIN EAISE, : 18 U.S.C. §1962(b);
EAISE DESIGN & LANDSCAPING, LLC, EAISE : 5. CONSPIRACY TO
SNOW SERVICES, LLC, : ENGAGE IN CIVIL RICO
HAINES & KIBBLEHOUSE, INC., : 18 U.S.C. §1962(d);
HANK JULICHER, : 6. FRAUD;
MARGIT JULICHER, : 7. BREACH OF FIDUCIARY
CHRISTOPHER W. WRIGHT, : DUTY;
DON ISKEN, : 8. CONVERSION;
PAUL ISKEN, ; 9. NEGLIGENT
LONGVIEW MANAGEMENT, LLC, 1 MISREPRESENTATION
MATTHEW SIBLEY, : CIVIL CONSPIRACY; and,
M&M LANDSCAPING, LLC, : 10. TORTIOUS
ALAN PERRY, : INTERFERENCE WITH
MARY TRESIZE, : CONTRACT.
FRANK ALCARAZ, '
STRIVE FORCE, LLC,
MJL ENTERPRISES,
JOHN HYNANSKI,
NORMAN AERENSON,
JOHN PURSELL,

ISKEN ENTERPRISES, LLC,

MOON NURSERIES, LLC, and

FRONTIER MULCH, LLC
Defendants

 

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AND NOW, comes Laurel Gardens, LLC (“LG”), American Winter Services, LLC
(“AWS”), Laurel Garden Holdings, LLC (“LGH”), LGSM, GP (“LGSM”), AND Charles P.
GAUDIOSO (“GAUDIOSO”) (collectively the “Plaintiffs” or the “Company”) Who bring this
suit and in support thereof aver the following:

NATURE OF ACTION

1. The primary cause of this action is a Widespread criminal enterprise
engaged in a pattern of racketeering activity across State lines, and a conspiracy to engage in
racketeering activity involving numerous RICO predicate acts during the past ten (1()) calendar
years.

2. The predicate acts alleged here cluster around: See 18 U.S.C. §§ 201
(bribery), 891-894 (Extortionate credit transactions, 1341 (mail fraud), 1343 (Wire fraud), 1512
(Witness tampering), and 1513 (retaliation), respectively.

3. Other RICO predicate acts, although appearing to be isolated events, Were
actually part of the overall conspiracy and pattern of racketeering activity alleged herein, e.g.
mail fraud and Witness retaliation. See 18 U.S.C. §§ 1341 and 1513, respectively.

4. The primary objective of the racketeering enterprise has been to inflict
severe and sustained economic hardship upon Plaintiffs, With the intent of impairing, obstructing,
preventing and discouraging Plaintiff from continuing to work in the field of landscaping and
snow removal services.

5. This action is also commenced by the Plaintiffs against defendants for
actual, consequential and punitive damages under Pennsylvania law for fraud, conversion,
negligent misrepresentation, breach of fiduciary duty, tortious interference With contract, aiding

and abetting breach of fiduciary duty, and civil conspiracy, arising out of the defendants’

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collective scheme to defraud the Plaintiffs and deplete their assets for the benefit of defendants
and to the Plaintiffs’ great detriment.

6. Through a series of transactions the Defendants developed a scheme to
misappropriate Plaintiffs’ funds and business opportunities. The scheme operated with Timothy
and Michael McKenna (the “McKennas”) at the center and various interrelationships between
the parties currently known to LG, AWS, its principals and current and former employees The
individual components of the scheme, as it is currently understood, will be described in detail
below.

PARTIES

7. Plaintiff, LG, is a Pennsylvania Limited Liability Company having a
registered principal place of business located at 334 Kennett Pike, Chadds Ford, Pennsylvania.
At all times relevant, the LG owned property in Pennsylvania and conducted its business in
Pennsylvania

8. Plaintiff, AWS, is a Pennsylvania Limited Liability Company having a
registered principal place of business located at 334 Kennett Pike, Chadds Ford, Pennsylvania
At all times relevant, AWS owned property in Pennsylvania and conducted its business in
Pennsylvania.

9. Plaintiff, LGH, is a Delaware Limited Liability Company having a
registered principal place of business located at 334 Kennett Pike, Chadds Ford, Pennsylvania

10. Plaintiff, LGSM, is a Pennsylvania General Partnership having a
registered principal place of business located at 334 Kennett Pike, Chadds Ford, Pennsylvania
At all times relevant, the LGSM, GP owned property in Pennsylvania and conducted its business

in Pennsylvania.

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11. Defendant, Timothy McKenna (“TIMOTHY MCKENNA”) is an adult
individual believed to be a resident of the State of Delaware who maintains a business address at
9 North Hampton Court, Wilmington, Delaware 19807.

12. Defendant, Michael McKenna (“MICHAEL MCKENNA”) is an adult
individual believed to be a resident of the Commonwealth of Pennsylvania who maintains a
business address at MAT Site Management, 3828 Kennett Pike, Suite 201, Greenville, Delaware
19807. MICHAEL MCKENNA is the President and Chief EXecutive Officer of MAT Site
Management.

13. Defendant, Bobby Aerenson (“AERENSON”) is an adult individual
believed to be a resident of the State of Delaware who maintains a business address at 2213
Concord Pike, Wilmington, Delaware 19803. AERENSON is a principal of the owner of Polly
Drummond Shopping Center.

14. Defendant, Gregory Pettinaro (“PETTINARO”) is an adult individual
believed to be a resident of the State of Delaware who maintains a business address at 234 North
James Street, Newport, Delaware 19804

15. Defendant, Bernard Meyers (”RXEYERS”) is an adult individual believed
to be a resident of the Commonwealth of Pennsylvania, 1830 Rittenhouse Square, Philadelphia,
Pennsylvania 19103 and at 3699 Toulouse Drive, Palm Beach, Florida 33410.

16. Defendant, Charles Wilkinson (“WILKINSON”) is an adult individual
believed to be a resident of the Commonwealth of Pennsylvania who maintains a business
address at 1020 Broad Run Road, Landenberg, Pennsylvania 193 50. WILKINSON is the

President and Chief EXecutive Officer of Wilkinson Builders and Technivate, lnc.

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17. Defendant, Technivate, Inc. (“TECHNIVATE”) is a Pennsylvania
corporation having a registered principal place of business at 1020 Broad Run Road,
Landenberg, Pennsylvania 193 50.

18. Defendant, Thomas DiDonato (“DiDONATO”) is an adult individual
believed to be a resident of the State of Delaware who maintains a business address at 101
Centre Road, Wilmington, Delaware 19805.

19. Defendant, Kevin Eaise (“EAISE”) is an adult individual believed to be a
resident of the State of New Jersey who maintains a business address at 28 Glassboro Road,
Monroeville, New Jersey 08343. EAISE is the President and Chief EXecutive Officer of Eaise
Design & Landscaping, LLC and Eaise Snow Services, LLC.

20. Defendant, Eaise Design & Landscaping LLC (“EAISE DESIGN”) is a
New Jersey Limited Liability Company having a registered principal place of business located at
28 Glassboro Road, Monroeville, New Jersey 08343.

21. Defendant Eaise Snow Services, LLC (“EAISE SNOW REMOVAL”) is
New Jersey Company have a registered principal place of business located at 28 Glassboro Road,
Monroeville, New Jersey 08343.

22. Defendant, Haines & Kibblehouse, Inc. (“HAINES & KIBBLEHOUSE”)
is a Pennsylvania corporation having a registered principal place of business located at 2052
Lucon Road, Skippack, PA 19474

23. Defendants, Hank Julicher (“HANK JULICHER”) and Margit Julicher
(“MARGIT JULICHER”) are adult individuals believed to be residents of the Commonwealth of

Pennsylvania and who reside at 534 Brighton Way, Phoenixville, Pennsylvania 19460.

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24. Defendant, Don lsken (“DON ISKEN”) is an adult individual believed to
be a resident of the State of Delaware who resides at 913 Stuart Road, Wilmington, Delaware
19807

25. Defendant, Paul lsken (“PAUL ISKEN”) is an adult individual believed to
be a resident of the State of Delaware who resides at 51 Guyencourt Road, Wilmington,
Delaware 19807.

26. Defendant, lsken Enterprises, LLC (“IE”) is a limited partnership under
the laws of the Commonwealth of Pennsylvania who maintain a business address at lsken
Enterprises, LLC Holiday lnn Express, 1203 Christiana Road, Newark, DE 19713.

27. Defendant, Longview Management LLC (“LONGVIEW”) is a limited
partnership under the laws of the Commonwealth of Pennsylvania who maintain a business
address at 1055 Westlakes Drive, #170, Berwyn, Pennsylvania 19312.

28. Defendant, Matthew Sibley (“SIBLEY”) is an adult individual believed to
be a resident of the Commonwealth of Pennsylvania who maintain a business address at 300
Walnut Street, Lansdale, Pennsylvania 19446.

29. Defendant, M&M Landscaping, LLC (“M&M”) is a Pennsylvania limited
liability company with a business address of 300 Walnut Street, Lansdale, Pennsylvania 19446.

30. Defendant, Alan Perry (“PERRY”) is an adult individual believed to be a
resident of the State of Delaware at 15 Stabler Circle, Wilmington, Delaware 19807 who
maintains a business, Montchanin Development Group at 911 North Tatnall Street, Wilmington,

Delaware 19807.

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31. Defendant, Mary Tresize (“TRESIZE”), is an adult individual believed to
be a resident of the State of Delaware who resides at 23 Selbourne Drive, Wilmington, Delaware
19807.

32. Defendant, Christopher W. Wright (“WRIGHT”), is an adult individual
believe to be a resident of the Commonwealth of Pennsylvania who resides at 68 Cabot Drive,
Chesterbrook, Pennsylvania 19807.

33. Defendant, MAT Site Management, LLC is a limited liability company

with a business address, 3828 Kennett Pike, Suite 201, Greenville, Delaware 19807.

34. Defendant Frank Alcaraz (“ALCARAZ”), is an adult individual believe to
be a resident of the Commonwealth of Pennsylvania whose business address is 1020 Broad Run

Road, Landenberg, Pennsylvania 19350.

35. Defendant John Hynanski (“HYNANSKI”), is an adult individual whose

business address is 520 S Walnut St Wilmington, Delaware.

36. Defendant Norman Aerenson (“NORMAN AERENSON”), is an adult
individual believe to be a resident of the Commonwealth of Pennsylvania whose business is 2213
Concord Pike, Wilmington, Delaware 19803.

37. Defendant John Pursell (“PURSELL”), is an adult individual believe to be
a resident of the Commonwealth of Maryland whose business address 145 Moon Road
Chesapeake City, Maryland 21915.

38. Defendant, Strive Force, LLC (“STRIVE FORCE”) is a Pennsylvania
limited liability company with a business address of 1020 Broad Run Road, Landenberg,

Pennsylvania 193 50.

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39. Defendant, MJL Enterprises, LLC (“MJL”) is a Commonwealth of
Virginia company with a business address of 2748 Sonic Drive, Virginia Beach, Virginia 23453.

40. Defendant, Moon Nurseries, LLC (“MOON”) is a Pennsylvania limited
liability company with a business address of 145 Moon Road, Chesapeake City, MD 21915.

41. Defendant, Frontier Mulch, LLC (“FRONTIER”) is a Pennsylvania
limited liability company with a business address of 1 Quarry Road, Douglassville, Pennsylvania
195 1 8

JURISDICTI()N AND VENUE

42. This Court has subject matter jurisdiction over this matter pursuant to 28
U.S.C. § 1331 because the action arises out of the laws of the United States, specifically the
Racketeer lnfluenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962, et seq.

43. This Court also has supplemental jurisdiction over the Partnerships’ state
law claims pursuant to 28 U.S.C. § 1367 because they are so related to the claims in the action
within such original jurisdiction of this Court that they form part of the same case or controversy
under Article III of the United States Constitution.

44. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
because a substantial part of the events or omissions giving rise to the Partners’ claims occurred
in this District.

FACTUAL BACKGROUND
General Background

45. Tll\/IOTHY MCKENNA and MICHAEL MCKENNA are at the center

of a criminal enterprise that is on-going, has, been active over the last 20 years, and has left

numerous victims in its wake. Typically they and their associates convert assets owned by

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others for their own benefit, either directly or to pay off debts that they have accumulated
Sometimes the conversion is in collusion with private creditors and takes the form of
personal debt relief. Their network is organized into cells

46. The TIMOTHY MCKENNA and MICHAEL MCKENNA criminal
enterprise is at least 20 years old. lts other victims include, among others, Michael Holly,
Andrew DeGroat et al (2006- 2008), Ed Morgan Sr., John Morgan, Kathy Morgan, Chemical
Equipment Labs (2000-2008), Harry French and Jack Lowe Enterprises (early 1990$).

47. Criminal activities are also continuing, even after TIMOTHY
MCKENNA’s termination from employment LG and AWS for theft'in June 2014.

48. Upon information and belief, all of the communications and transactions
described in this complaint were directed by defendants by mail, e-mail, wire transfer and/or
online access in order to provide additional liquid funds with which to fund payment of the debts
of TIMOTHY MCKENNA and MICHAEL MCKENNA to advance their business interests or
personal interests of all of the defendants

49. From July 2014 to November 2014 MICHAEL MCKENNA stole
company trade secrets while employed by the company as a senior executive. He was however,
actually actively working for MAT Site Management (MAT), his father's company. All the while
he was frequently telling Company and Plaintiffs’ superiors that he was a loyal LG/AWS
employee who would never work for his father again. On November 7, 2014 MICHAEL
MCKENNA disclosed critical, highly confidential financial information to his father,
TIMOTHY MCKENNA. He was almost immediately caught red handed and confessed

MICHAEL MCKENNA then resigned abruptly on November 9, 2014. Plaintiffs later learned

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that MICHAEL MCKENNA had deliberately sabotaged the Plaintiffs’ relationships with
customers during this time period for MAT's benefit.

50. In the Fall of 2015, TIMOTHY MCKENNA attempted to extort the
company's insurance agent, threatening to have other customers of that agent move their
business to another entity if the agent facilitated insurance coverage for Plaintiffs.

51. In the Fall of 2015, TIMOTHY MCKENNA solicited a bribe from a
key company subcontractor in an attempt to steal a Company marquee customer.

Gaudioso Buys LG and LGSM

52. Between March 30, 2012 and June 25, 2012, GAUDIOSO, through LGH,
acquired all of the interest in LG and LGSM from WILKINSON, for whom TIMOTHY
McKENNA AND MICHAEL McKENNA were working.

53. TIMOTHY McKENNA and MICHAEL McKENNA were both affiliated
with the Plaintiffs for a number of years and TIMOTHY McKENNA was initially the managing
member of LG and AWS until May, 2012 when GAUDIOSO became the managing member of
both LG and AWS.

54. TIMOTHY McKENNA initially had a small ownership percentage in the
Plaintiffs, .01%, but by the summer of 2012 had transferred all of his ownership interest to
GAUDIOSO.

55. TIMOTHY McKENNA admitted to fraudulent behavior with the Plaintiffs
and agreed that he would not repeat such behavior. As a result, he signed an agreement in June,
2013 to pay back certain funds to the Company but to date none of this obligation has been paid.

56. TIMOTHY McKENNA remained a consultant to the Company until June

2014 when he was terminated for cause.

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5 7. MICHAEL McKENNA is TIMOTHY McKENNA’s son and was the
General Manager for LG and AWS until he terminated his relationships with the Plaintiffs on
November 9, 2014.

5 8. Subsequent to MICHAEL McKENNA’s departure, the Plaintiffs sought
and obtained temporary restraining orders from the Delaware Chancellery Court against
TIMOTHY McKENNA, MICHAEL McKENNA and MAT Management, LLC for
misappropriation of trade secrets of the Company and breach of fiduciary duties.

5 9. TIMOTHY McKENNA and MICHAEL McKENNA remain in violation
of the court Orders.

Fraudulent Use of Company Assets to Pay Personal Debts of the McKennas

60. AERENSON and his family own the Polly Drummond Shopping Center in
Wilmington, DE.

61. AERENSON signed a contract with AWS for snow removal services for
the 2013/ 14 season. After sending AERENSON several invoices that remained unpaid, AWS
learned that TIMOTHY McKENNA made an arrangement with AERENSON for snow removal,
salt, and landscaping services to be provided by the Plaintiffs for free in exchange for debt
forgiveness of a personal loan to TIl\/IOTHY McKENNA.

62. AERENSON entered into a handwritten agreement with TIMOTHY
McKENNA, which was intended to relieve a 860,000 personal debt TIMOTHY McKENNA
owed to AERENSON whereby Tll\/IOTHY McKENNA provided Company goods and services

and agreed not to charge for those services.

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63. AERENSON paid TIMOTHY McKENNA an $18,000 personal check,
which reflected the excess value of the services provided by the Company over the 860,000
personal debt of TIMOTHY McKENNA that was forgiven.

64. The handwritten agreement also provided for free Company services to
BOBBY AERENSON the following year as well for a properties also owed by PETTINARO.

65. TIMOTHY McKENNA apparently hid the evidence of salt deliveries and
to AERENSON. There are no listed deliveries going to Polly Drummond based upon AWS’s
analysis of its salt deliveries lt is believed and therefore averred that Tll\/IOTHY McKENNA
was able to hide the deliveries amongst other deliveries, most likely made by TECHNIVATE.
TIMOTHY McKENNA also arranged for TECHNIVATE to perform snow removal services at
Polly Drummond and to bill AWS. Technivate, lnc. only charged AWS for the hourly rate of the
plow, not for salt. TECHNIVATE used AWS’s salt which TIMOTHY McKENNA had shipped
to the site without recording that it was intended for Polly Drummond.

66. AWS continued to try and obtain payment from AERENSON for the
above referenced services and product, but AERENSON continued to refuse payment.
GAUDIOSO has demanded that AERENSON pay the invoices per the contract.

67. ln the summer of 2014, after TIMOTHY McKENNA was terminated for
cause, Plaintiffs discovered that MICHAEL McKENNA, under TIMOTHY McKENNA’s
instruction, assigned LG labor and assets to perform landscaping services on ground in southern
Delaware that belonged to both AERENSON and PETTINARO. Again, the Plaintiffs attempted
to collect payment for these services and AERENSON and PETTINARO refused to pay.

68. TIMOTHY McKENNA and MICHAEL McKENNA both owed

MEYERS money. ln lieu of payment for those personal loans and receipt of debt forgiveness,

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TlMOTHY McKENNA and MICHAEL McKENNA directed extensive free work to be
performed at MEYERS’S daughter’s residence, Ilene Miller, with the work being valued at over
$16,000.

69. ln December, 2013, WILKINSON made a short term loan to the Company
of $25,000 to cover a payroll while AWS waited for snow payments to arrive. The arrangement,
as orchestrated by TIMOTHY McKENNA, was that the Company would pay back the $25,000
to MEYERS who would in turn wire $25,000 to WILKINSON. The Company paid MEYERS
the $25,000.

70. Several months later, it was discovered that WILKINSON had offset
invoices due to the Company by 825,000. When GAUDIOSO inquired about this, he was alerted
by Frank Alcaraz (“ALCARAZ”), Vice President of Finance for WILKINSON, that l\/IEYERS
never sent the $25,000 to WILKINSON.

71. GAUDIOSO then contacted MEYERS and Meyer’s partner, lra Gerber, to
attempt to recover the money. MEYERS and Ira Gerber refused to return the money.

72. The $25,000 was kept by MEYERS and lra Gerber for a debt payment due
to them by TIMOTHY McKENNA personally. MEYERS some months later admitted to
GAUDIOSO (well after TIMOTHY MCKENNA was terminated and MICHAEL McKENNA
quit) that TIMOTHY McKENNA still owed MEYERS a lot of money.

73. MEYERS has acknowledged that the Company did not owe him this
money and that TIMOTHY McKENNA’s personal debts to MEYERS did not permit MEYERS

to steal from the Company.

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74. After the 2013/ 14 snow season, AWS owed Chemical Equipment Labs
approximately $300,000, for salt purchased by AWS that was directed by TIMOTHY
l\/ICKENNA to for MOON NURSERIES for its own use in servicing its own customers

75. MOON NURSERIES, however, never paid the Company for the salt.
Tll\/IOTHY l\/chENNA orchestrated a plan to not only pay off this debt for the Company, but
release TIl\/IOTHY McKENNA from monies he personally owed to the Company.

76. MEYERS paid Chemical Equipment Labs $300,000 owed by AWS,
which WILKINSON guaranteed and agreed to pay back to l\/IEYERS on or about February l,
2015. To date and to the best of the Company’s knowledge, MEYERS has not been paid back.

77. However, as the plants from the TIMOTHY McKENNA/MOON
NURSERIES “plants-for-salt” scam are now located on WILKINSON’S property, Plaintiffs
believe, and therefore aver, that TIMOTHY l\/chENNA, using the $300,000 credit TIl\/IOTHY
l\/chENNA claimed he had with MOON NURSERIES after stealing the Company’s asset,
offered WILKINSON this credit in exchange for getting Tll\/IOTHY McKENNA out of the debts
TIMOTHY l\/chENNA owed the Company.

78. MOON NURSERIES was cash poor, but promised to barter plants for salt.
Ultimately, AWS had a $300,000 credit from Moon Nurseries for plants.

DiDonato Credit Card Fraud

79. The owner of the Center Exxon gas station, DiDONATO, is a friend of
Tll\/IOTHY McKENNA.

80. From September, 2013 to May, 2014 TIMOTHY McKENNA and

MICHAEL McKENNA used this station almost exclusively for fuel, despite the fact that there

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are two gas stations almost adjacent to the Company shop location, while Center Exxon is a 20
minute drive from the shop.

81. At the time, the Company operated under the system of purchasing gift
cards at the station and handing them out to the crews to use for fuel. The crews were instructed
to turn in receipts when they fueled up. TIMOTHY McKENNA and MICHAEL McKENNA
were in charge of this system. The Company would advance checks, for example $500, towards
the purchase of gift cards and TIM()THY McKENNA/MICHAEL McKENNA’s duty was to
return receipts showing the purchase of the gift cards.

82. The advance checks were made out to Center Exxon and to Tll\/IOTHY
McKENNA and MICHAEL McKENNA personally. GAUDIOSO’S personal credit cards were
also given to TIMOTHY McKENNA and MICHAEL McKENNA for these purchases

83. There are over $17,000 in missing receipts, because TIMOTHY
McKENNA and MICHAEL McKENNA arranged a scam with DiDONATO to produce phony
gift card receipts and TIMOTHY McKENNA, MICHAEL McKENNA and DiDONATO would
steal the cash.

84. On at least one instance, TIMOTHY McKENNA and MICHAEL
McKENNA committed credit card fraud by using GAUDIOSO’S credit card for a fraudulent
$1,012 gift card purchase wherein the station owner produced a phony receipt. On the back of
the receipt MICHAEL McKENNA wrote two bank account numbers that belonged to
TIMOTHY McKENNA with amounts next to each account that totaled the amount of the credit
card transaction (less the $12.00 “fee”), indicating the amount of cash TIMOTHY McKENNA
and MICHAEL McKENNA stole from the credit card transaction that was deposited into

TIMOTHY McKENNA’s personal bank accounts.

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85. There are also receipts indicating purchases labeled “Parts”. Also, there
are transactions for “Parts” with no backup, in particular a $653 “Parts” transaction. Lastly, it
appears “Parts” was used to charge the Company “fees” for using a credit card. No other stations
charged the Company a fee for using credit cards The Company was charged a “fee” on at least
one occasion for using an Amex card although according to the merchant contract with Amex,
the merchant is not permitted to do so.

86. Many receipts indicate that “local accounts” were used for purchases
without any accounting or back up detail to explain their use or business purpose. Accounts were
called “daisy”, “miscellaneous” and others. The Company never saw any receipts for payments
toward these accounts and was never billed or sent a statement to pay these accounts

87. DiDONATO produced a hand-written receipt for a gift card purchase,
which the Company in an apparent effort by DiDONATO to “keep off the books”

88. These practices ceased in April of 2014 because the Company began using
a fleet fuel card service that was much more secure.

Kevin Eaise and Eaise Design & Landscaping / Eaise Snow Removal

89. As part of a settlement AWS reluctantly entered into with EAISE before
the Plaintiffs had received the forensic analysis completed by Asterion. AWS learned from that
report that EAISE is complicit in committing fraud against AWS and its customers with
TIMOTHY McKENNA and MICHAEL McKENNA during the 2013/2014 snow season, AWS
is committed by the settlement to begin making payments to EAISE on October 15, 2015 and
monthly thereafter for a total of $125,000 unless it can provide evidence of fraud to the Eaise

attorney holding the escrow payments

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90. EAISE DESIGN and EAISE SNOW REl\/IOVAL, owned by EAISE, is a
subcontractor used by AWS during the 2013/ 14 snow season. EAISE has a long history with
TIl\/IOTHY McKENNA and MICHAEL McKENNA.

91. EAISE has caused problems for AWS and its previous entities for years,
including incorrect invoicing, inflated invoicing, and missing paperwork, among others Yet
TIMOTHY McKENNA insisted on continuing to employ EAISE, apparently because
TIMOTHY McKENNA owed EAISE money. EAISE would lend money, use kickbacks and
engageincnherfonnsofiHegalandknindaudulconduct

92. TIMOTHY McKENNA, MICHAEL McKENNA, and EAISE conspired
to commit fraud against AWS and its customers by submitting false and inflated invoices, double
invoicing, stealing salt and calcium, and falsifying job tickets AWS believes, and therefore
avers, this was done not only to satisfy debts owed to EAISE by TIMOTHY
McKENNA/MICHAEL McKENNA, but also to take advantage of AWS and its customers

93. TIMOTHY McKENNA/MICHAEL McKENNA used EAISE for several
years before the 2013/2014 snow season under different companies EAISE was not used during
the 2012/2013 season according to controller Laura Mohr, who has been with the company for
the past 10 years, because of invoice issues, overbilling, and double billing during previous
seasons.

94. Around March of 2013, there was an account entry on the Company’s
books showing funds due to EAISE of approximately 825,000. ALCARAZ, Vice President of
Finance for Wilkinson Builders who owned LG at the time told Laura Mohr to remove the
amount due as they did not feel it was due and EAISE was not pursing payment. Tll\/IOTHY

McKENNA announced that he had “taken care of EAISE” by giving him a significant amount of

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salt and calcium some time in December of 2012 free of charge. The amount of material
provided was never disclosed though repeatedly requested. Laura Mohr estimated it was around
$20,000.

95. Prior to the start of the 2013/2014 snow season, TIMOTHY McKENNA
insisted that AWS use EAISE for the upcoming snow season without explanation Laura Mohr,
knowing the history of using EAISE, voiced her opposition, but MICHAEL McKENNA assured
that he would keep EAISE in line. So GAUDIOSO, as managing member, agreed.

96. From the very start of the season there were invoicing problems that
continued the entire season, AWS did not realize the scope of the problems until it and Asterion
completed a forensic analysis of EAISE’ s invoices and paperwork after the season was over, on
oraboutFebnunyof2016.

97. Additionally, there were complaints about EAISE’s service from AWS’
customers AWS was not aware of the complaints until after it began investigating EAISE well
after the season had ended as MICHAEL McKENNA kept the complaints to himself, receiving
them via phone and email.

98. EAISE invoiced AWS for about 8535,000 over about 400 services during
the 2013/2014 season, AWS paid EAISE 8235,000. AWS discovered over the course of its audit
of EAISE’s invoices that EAISE overbilled, double billed, re-invoiced, invoiced for dates he
didn’t service, and in violation of the Master Service Agreement he signed, did not provide job
tickets for most dates, submitted job tickets after the 24 hour time limit, submitted invoices after
the 30 day time limit, and dated invoices prior to the actual service date in order to make
invoices appear due before they actually were. This resulted in credits due to AWS that, in effect,

show EAISE was overpaid and actually owed AWS money.

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99. AWS repeatedly requested job tickets from EAISE. And because of
EAISE’ s extensive delays in providing required job tickets (on average it took 19 days for
EAISE to submit job tickets, yet he would submit his own invoices within a day or two), AWS
was unable to invoice its customers in a timely manner putting AWS in difficult financial
Situations. EAISE berated AWS staff for payment, yet his own delays in submitting job tickets
caused EAISE’ s own delays in payment.

100. Pulaski & Sons Construction (“PULASKI”) is the subcontractor EAISE
contracted with to perform snow removal services at Clover Square Shopping Center in
Hamilton, NJ and the AT&T store in Lawrenceville, NJ.

101. AWS as part of its snow services sells bulk rock salt and bagged calcium
to its subcontractors negotiating rates the subcontractors would not be able to get on their own.

102. AWS then back charged the subcontractor for materials ordered. AWS
delivered about 200 tons of rock salt to Clover Square as ordered by EAISE.

103. On job tickets provided by PULASKI, it is indicated that PULASKI used
“bagged” rock salt on several occasions at the beginning of the season. After that, PULASKI
strangely stopped putting amounts of rock salt used on its job tickets AWS inquiry why
PULASKI used bagged material when tons of bulk material was on site and why PULASKI
stopped recording the amount of material it used.

104. ln addition, according to the contract between PULASKI and EAISE,
Pulaski was charging EAISE a significantly higher amount for bagged rock salt than EAISE was
paying AWS for bulk salt. AWS wanted to know why EAISE agreed to pay PULASKI so much

more to use bagged rock salt when salt he had paid much less for was already on site.

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105. Finally, according to the invoices PULASKI billed to EAISE, EAISE
owed Pulaski approximately 820,000. This situation contributed EAISE submitting fraudulent
bills to AWS.

106. EAISE, in an email from early in the season, indicated that someone else
had serviced the AT&T location, possibly whoever did the Casual Male store that is adjacent to
it.

107. Laura Mohr confirmed with the management company that the AT&T
location was vacant, but still needed to be serviced per contract. This information was passed on
to EAISE.

108. EAISE did not supply one single job ticket, either during the snow season
or as part of discovery during the lawsuit, that the AT&T was serviced even though he supplied
job tickets for all other locations

109. When AWS requested job tickets during discovery, EAISE’s attorney
emailed, “...there are no separate tickets for AT&T. The same person who did AT&T did
Clover. . .services provided were same”.

110. PULASKI Serviced Clover so, therefore, according to EAISE’s attorney’s
email, Pulaski serviced the AT&T. AWS was supplied with invoices from Pulaski to EAISE for
services at the AT&T.

lll. Out of the 88 services that EAISE billed to AWS, Pulaski only invoiced
EAISE 23. Pulaski provided no job tickets however.

a) EAISE self-performed the other 65 times However, there are no EAISE
internal job tickets as there are for the other locations

b) The AT&T (and Clover Square) is over sixty miles away from EAISE’s
shop. Pulaski’s shop is within a 2 mile radius of both properties lt is not
believed that EAISE would self-perform on a site that required a 120 mile
round trip in bad weather.

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c) AWS believes and, therefore, avers that upon discovering that some other
contractor had serviced the AT&T site, EAISE continued to allow the site
to be serviced by the other contractor yet invoiced AWS.

Haines & Kibblehouse, Inc.

112. HAINES & KIBBLEHOUSE initiated legal proceedings on the Company
for amounts they allege are due to them for snow removal services they performed This is yet
another vendor that the Company believes and, therefore, avers conspired with TIMOTHY
McKENNA and MICHAEL McKENNA to defraud the Company.

113. The Company and HAINES & KIBBLEHOUSE operated under agreed
rates for the 2012/ 13 season. MICHAEL McKENNA had negotiated these rates and
GAUDIOSO not knowing of the new pricing arrangement that was offered to Haines and
Kibblehouse by MICHAEL McKENNA who knowingly in his effort to steal from the company
for the benefit of himself and TIMOTHY MCKENNA did not perform in the best interests of the
Company.

114. Unbeknownst to anyone, MICHAEL McKENNA signed a new, multi-year
proposal with HAINES & KIBBLEHOUSE on December 16, 2013 that significantly increased
the rates Equipment costs increased on average by 31% and weekend rates increased by an
average of 37%. Additionally, this was a multi-year proposal. In most cases, companies
DECREASE rates in an attempt to win a multi-year contract.

115. Additionally, HAINES & KlBBLEHOUSE’s rates under the 2012/2013
contract were already high compared to market rates Furthermore, MICHAEL McKENNA
could have rented equipment and paid significantly less

116. After MICHAEL McKENNA’s resignation in November, 2014 and after
the 2014/2015 winter season, AWS discovered the new proposal that MICHAEL McKENNA
signed with HAINES & KIBBLEHOUSE and AWS and halted further payments to HAINES &

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KIBBLEHOUSE. AWS attempted to meet with HAINES & KlBBLEHOUSE to discuss the
increased rates matter. Subsequently, HAINES & KlBBLEHOUSE, in an attempt to discredit
AWS with a major marquee customer, contacted that customer directly to complain they had not
been paid. This is in direct conflict with the Master Service Agreement HAINES &
KlBBLEHOUSE had already signed.

117. lt was recently discovered that the 2012/2013 rates, the first year
GAUDIOSO owned the Company, were increased by HAINES & KlBBLEHOUSE and signed
off by MlCHAEL McKENNA. Overall, since 2011/2012 the Company’s rates with HAINES &
KlBBLEHOUSE have gone up an average of 35% on equipment and 23% on weekend work.

118. AWS ordered road salt and calcium from Frontier Mulch. Upon
information and belief, FRONTIER is owned by HAINES & KlBBLEHOUSE.

119. AWS was given written rates it was to be charged for salt, yet AWS was
always invoiced for higher amounts FRONTIER has filed claim against AWS for amounts it
claims are due.

120. Plaintiffs believe and therefore aver that the contract with FRONTIER and
HAINES & KlBBLEHOUSE, on the one hand, and Plaintiffs, on the other was fraudulent and
designed to harm the Plaintiffs
Phnd<JuHcher

121. HANK JULlCHER, through his wife MARGlT JULlCHER, is a lender to
LGH, with GAUDIOSO as guarantor. MARGIT JULlCHER is a straw person. There has been
almost no contact with her except greetings On the other hand, there have been literally
hundreds of calls and dozens of meeting with HANK JULlCHER and Chris Wright, HANK

JULlCHER’s partner and closest assistant

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122. HANK JULlCHER, despite warnings from GAUDIOSO not to do so,
became associated with Tll\/IOTHY McKENNA in May 2014 in numerous ways, namely as

follows:

a) Multiple personal loans to Tll\/IOTHY McKENNA;

b) Salt deals with TIMOTHY McKENNA; WRlGHT would send
TlMOTHY McKENNA spreadsheets detailing the financial workings of
the deal and WRlGHT would instruct TlMOTHY McKENNA not to share
the information with anyone. Tll\/IOTHY McKENNA immediately shared
the information with lSKEN and others in an attempt to show Tll\/IOTHY
McKENNA had income;

c) lntroduction by TlMOTHY McKENNA to a customer (MOON
NURSERIES) who conspired with TlMOTHY McKENNA to steal from
the company; and

d) Free landscape services from MAT and MlCHAEL McKENNA.

123. As a lender, HANK JULlCHER and WRlGHT have demanded and been
provided detailed, full and material disclosures about the business ~ both financial, legal, and
operational plans as well as general business disclosures with the expectation that the materials
provided are proprietary and for use of the lender alone solely in order to keep them informed

124. HANK JULlCHER and WRlGHT have used this information
inappropriately to enhance their own personal financial situations as well as those with whom
GAUDIOSO and the Company are adversarial ln addition, HANK JULlCHER and WRIGHT
are expressly aware that TlMOTHY McKENNA and MOON NURSERIES are not only
adversarial with the Company but have expressly and specifically engaged in theft from the
Company. Therefore, having been privy to this detailed and material information as required by
the terms of the loan documents HANK JULlCHER, MARGlT JULlCHER and WRIGHT have
harmed the companies while aiding and abetting MOON NURSERIES and TlMOTHY
McKENNA in committing conversion and thefts All the while knowing that the reason the

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Company is having financial difficulties that have led to defaults on MARGIT JULlCHER’s

note is these thefts

125.

HANK JULlCHER has used this information inappropriately to benefit

himself, his associates TlMOTHY McKENNA and MOON NURSERIES specifically as

follows:

d)

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lnserted himself (against his lawyer’s advice) into a Chancery Court case
against MlCHAEL McKENNA, TlMOTHY McKENNA, Arnold Dunn
and MAT in order to impede and prevent disclosure of his full set of
activities that have harmed us;

Threaten GAUDIOSO physically to compel an agreement with MOON
NURSERIES;

Threatened the companies and GAUDIOSO with his active efforts to
cause financial ruin to both by forcing both out of business thus aiding and
abetting the efforts of TlMOTHY McKENNA to deliver on his threat to
do the same. TlMOTHY McKENNA (along with HANK JULlCHER and
CHRlS WRlGHT) not only hurt GAUDIOSO and the Company, but are
positioning themselves or their proxies to pick up all of the business for
themselves -- thereby increasing their ill-gotten gains Any financial
difficulty the Company is experiencing is solely due to Tll\/IOTHY
McKENNA’s HANK JULICHER and MlCHAEL McKENNA’s thefts
and fraudulent conspiracies a fact made clear by GAUDIOSO to both
HANK JULlCHER and WRIGHT numerous times;

HANK JULlCHER met with TlMOTHY McKENNA and coordinated
parties who were being encouraged by TlMOTHY McKENNA to push the
Plaintiffs into bankruptcy ~ not to recover any legitimate debts (which
were dubious to begin with) but to aid and abet TlMOTHY McKENNA’s
plan to commit bankruptcy fraud to put the Companies out of business so
they could pick up the ongoing business;

TlMOTHY McKENNA and HANK JULlCHER stole Company resources
by providing services to HANK JULlCHER’S personal residence over
and above those required by the loan documents Such work exceeded
815,000. The work was scheduled by MlCHAEL McKENNA;

As a lender, HANK JULlCHER was informed almost immediately
afterwards TlMOTHY McKENNA was terminated for cause, namely,
theft;

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g)

h)

j)

k)

126.

HANK JULlCHER nevertheless continued to work very closely with
Tll\/IOTHY McKENNA. ln a January, 2015, Chancery Court hearing,
Tll\/IOTHY McKENNA even insisted in court on maintaining his
continued relationship with HANK JULlCHER notwithstanding an
existing TRO;

TIMOTHY McKENNA introduced HANK JULICHER to MOON
NURSERIES who was party to a fraud against the Company;

HANK JULlCHER offered to collect AWS accounts receivable (“AR”)
from MOON NURSERIES. That AR is approximately 8300,000. The
detail that justified this number was provided to HANK JULlCHER
through his key assistant WRlGHT. HANK JULlCHER and WRIGHT,
however, withheld key information, namely that they had a controlling
interest in MOON NURSERIES, a fact that was not revealed until 4
months later;

HANK JULlCHER’s extensive business relations with TlMOTHY
McKENNA are not only a misuse of Company information, those
relationships have enhanced TlMOTHY McKENNA’s capacity to do
damage to the Companies thereby hindering the Companies’ ability to ,
repay HANK JULlCHER and MARGIT JULlCHER; and

HANK JULlCHER has made threats of violence against company
officers namely GAUDIOSO and Jll\/l PORTER. Specifically, HANK
JULICHER at least twice threatened GAUDIOSO that a mobster associate
of his would hold a gun to GAUDIOSO’S head while two black men
(used the N word) would abuse him. He voiced the same threat to Ron
Coruzzi (“Ron Coruzzi”). ln January 2015, in a telephone conference call
with J im Porter who was acting as CEO at the time HANK JULlCHER
threatened J im Porter. Since then HANK JULlCHER has made repeated
threats of the same kind if GAUDIOSO did not do what he wanted.

HANK JULlCHER openly touted his Sicilian roots and his connections

with the Gambino family. ln one instance, GAUDIOSO was present in his house where over the

phone HANK JULlCHER threatened a pharmacist, a health insurance representative, and one of

his attorneys ln each of those threats he made reference to his Sicilian roots

Hynansky/Pond’s Edge

127.

Don “Smokey” Robinson worked for WlLKlNSON prior to GAUDIOSO

purchasing the companies Tll\/IOTHY McKENNA convinced GAUDIOSO to hire Don

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Robinson as an outside salesman as he would be able to bring in a large amount of business
which proved to be untrue.

128. On April 30, 2013, TlMOTHY McKENNA purchased a used 2011 Ford
Explorer for Don Robinson. Apparently, TlMOTHY McKENNA owed Don Robinson money.
TlMOTHY McKENNA purchased the vehicle from Winner Dover Autocenter, owned by John
HYNANSKY (“HYNANSKY”) who, at the time, was a friend of TlMOTHY McKENNA.
Tll\/IOTHY McKENNA was illegally allowed to put the vehicle in LG’s name even though
TlMOTHY McKENNA signed the purchase agreement, when he had no ownership interest or
executive authority in the company. HYNANSKY was aware of those circumstances

129. The used, two-year old vehicle was sold to Tll\/IOTHY McKENNA for
$37,435.00. Tll\/IOTHY McKENNA then paid for the vehicle with a personal check that
bounced.

130. HYNANSKI is also an owner/partner in a group called Pond’s Edge
Associates and/or Montchanin Development Group along with PERRY. They own a tract of
land in Delmar, Montchanin Development. TlMOTHY McKENNA, HYNANSKI, and Perry
conspired to steal Company assets and labor to performing site work there, specifically clearing
18 acres of trees Tll\/IOTHY McKENNA priced the job at $29,247 and apparently advised
would take three weeks to complete.

131. The Company later analyzed their expenditures for the job and learned it
spent over $59,000 on labor alone. Not only did the Company only collect only 817,000 for the
job, Gary Bickham, an employee of the Company and manager for the Ponds End work obtained
a quote from Strobert, a professional tree service, in advance who priced the job at $91,000 and

taking four to six weeks to complete. Tll\/IOTHY McKENNA apparently also got a quote from

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David Horsey for $95,000. Tll\/IOTHY McKENNA booked this job to repay HYNANSKI for the
Explorer and/or other loans This is also reflected in a reconciliation done by either Alan Perry or
HYNANSKI indicating a credit off the Company’s contract for the car.

132. The Company discovered what appears to be a reconciliation prepared by
HYNANSKI, PERRY, and/or TIMOTHY McKENNA where it is clear that a credit is being
taken by HYNANSKI and PERRY for a balance due on the vehicle purchased for Don
Robinson.

133. Additionally, there was a balance due of $6,061 on the Company’s books
for the installation of an irrigation system at Pond’s Edge. The amount was applied to a deposit
on a Cadillac from Winner Cadillac that was for TlMOTHY McKENNA’s benefit. That amount
is due and owing to the Company including interest.

lsken and lsken Enterprises

134. DON lSKEN and PAUL lSKEN have been associated with Tll\/IOTHY
McKENNA for several years They own several local hotels specifically the Homewood Suites,
Holiday lnn Express, and Comfort lnn in Wilmington, DE.

135. Tll\/IOTHY McKENNA conspired with DON lSKEN and PAUL lSKEN
to steal Company assets and labor by delivering loads of salt and calcium at no charge to the
lSKEN’ hotels in return for some debt relief to TlMOTHY McKENNA. This was late in the
2014 season when salt and melt products were generally unavailable at any price and the
Company’s inventory was stretched. TIMOTHY McKENNA and MlCHAEL McKENNA also
directed snow removal services to the hotels and DON lSKEN’ home with no intention of billing
DON lSKEN. When the Company learned of this the Company sent a bill and attempted to

collect payment from DON lSKEN and PAUL lSKEN. DON lSKEN and PAUL lSKEN refused

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to pay advising GAUDIOSO, “Our deal was with Tim McKenna”. When GAUDIOSO pressed
as to what that meant, neither DON lSKEN nor PAUL lSKEN would explain.

136. Having loaned Tll\/IOTHY McKENNA a significant amount of money
(upwards of 8200,000) and Tll\/IOTHY McKENNA being unable to pay it back, DON lSKEN
has initiated several Sherriff Goods and Chattel sales on Tll\/IOTHY McKENNA’s home. The
email trail between TlMOTHY McKENNA and DON lSKEN goes back years and shows
Tll\/IOTHY McKENNA promising to pay DON lSKEN and always reneging on payment.
Ultimately, DON lSKEN initiated the Sherriff sale and then TIMOTHY McKENNA somehow
came up with an amount to get DON lSKEN off his back for a short time. Then the process
started again.

137. Counsel for the Company, SNYDER and FALCONE of SAUL EWlNG
were advising Tll\/IOTHY McKENNA on how to handle this situation with lSKEN.

Longview Management

138. Longview Management (“LONGVIEW”) owns and manages several
shopping centers that LG, LGSM, and AWS, (collectively the Company) have serviced since
2003.

139. Tll\/IOTHY McKENNA and MlCHAEL McKENNA have had close
personal relationships with upper management at Longview, particularly President, Robin
McGill and the managing member, Bill Anderson, for years Denton Moyle owned American
Winter Services (AWS) during a time when he was an upper level executive with LONGVIEW.

140. Although TlMOTHY McKENNA and MlCHAEL McKENNA in past
years signed snow contracts with LONGVIEW as McKenna American (which Tll\/lOTHY

McKENNA and MlCHAEL McKENNA owned), and as LGSM (MlCHAEL McKENNA with

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apparent authority as General Manager), LONGVIEW was aware that GAUDIOSO was the sole
managing member of AWS and therefore, sole authority. GAUDIOSO signed all contracts with
LONGVIEW on behalf of AWS in 2012/13 and 2013/14.

141. AWS is currently in litigation with LONGVIEW over about 8400,000 that
AWS is owed from the 2013/2014 snow season, The issue at hand are two clauses in the snow
contract (drafted by LONGVIEW) that describe a cap provision whereby if a certain amount is
reached during the season, any amounts above that cap would be payable to AWS in equal
installments over 8 months beginning in April. LONGVIEW, however, is contending that the
interpretation of the cap clause is that the cap is the limit that AWS can collect for the season, So
the litigation on the surface is basically a contract dispute over language and a judge has already
said that the language is ambiguous at best and LV as the author of the contract bears the burden
of that.

142. TlMOTHY McKENNA and LONGVIEW conspired to defraud AWS by
not paying the $400,000 amounts that exceeded the cap, using the contract clause as an excuse.
About February or March of 2014, Tll\/IOTHY McKENNA advised LONGVIEW that since the
caps had been met, “that AWS would not receive any further remuneration.” Tll\/IOTHY
McKENNA said something to the effect of, ‘The rest of these are freebies”’. This conversation
was with Josh lntrovatolo, CFO for LONGVIEW. Tll\/IOTHY McKENNA did this without
Company knowledge or permission and to curry favor with LONGVIEW in his ultimately
successful attempt to steal the LONGVIEW contracts from AWS. LONGVIEW was a willing
accomplice to this ~ rewarding TlMOTHY McKENNA for getting LONGVIEW out of a

$400,000 payment.

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143. During this time TlMOTHY McKENNA was also working with several
members of LONGVIEW, including Bill Anderson, on gaining investors for a project called
Cherry Ridge Apartments. LONGVIEW indicated they “would be happy to pay (TlMOTHY
McKENNA) a big commission on getting investments into this proj ect.

144. Tll\/IOTHY McKENNA and MlCHAEL McKENNA, in dereliction of
their fiduciary duty, were working for the benefit of themselves and LONGVIEW and not AWS.
And LONGVIEW aided and abetted the McKENNAS by giving their new company, MAT Site
Management, the snow contracts

145. Notwithstanding, LONGVIEW acted in conspiracy they committed with
TlMOTHY McKENNA and MlCHAEL McKENNA in awarding MAT Site Management the
snow contracts

0 Fall, 2013: AWS and LONGVIEW execute snow contracts for the
2013/2014 snow season at 12 LONGVIEW properties The clauses in
question are 2(A)(vi)(F) and 3(C).

0 Fall, 2013 - 2014: LONGVIEW and TlMOTHY McKENNA engage in
discussions about the Cherry Ridge Apartments proj ect. They mention a
group called Streamlight ~ a company owned by Harry French from whom
TlMOTHY McKENNA has borrowed and owes money.

0 On or about lan 8, 2014, TlMOTHY McKENNA took it upon himself
(and without authorization from GAUDIOSO) to agree that LONGVIEW
could avoid paying certain AWS invoices due to services issues

0 ln March, 2014, TlMOTHY McKENNA advised LONGVIEW, without
authority or authorization, that caps have been met and AWS is no longer
owed any amounts

0 On July 1, 2014, Robin McGill responded to J osh lntrovolo’s email
regarding Tll\/IOTHY McKENNA, praising how she is handling
TlMOTHY McKENNA. She then says “. . .MlCHAEL McKENNA does
all of the coordinating so if he leaves . .” indicating Robin l\/chill knew as
early as July l, 2014 that MlCHAEL McKENNA was leaving AWS.

0 On or about September 8, 2014, MAT Site Management was incorporated

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0 On or about September 8, 2014, MlCHAEL McKENNA supposedly
delivered AWS’ 2014/2015 snow proposal to LONGVIEW.

0 On September 9, 2014 lackie Scanzello (JSZ) emailed Laura Mohr and
asked for a hard copy of the proposal that Tll\/IOTHY McKENNA
dropped off. Laura Mohr emailed back asking for clarification concerning
who dropped off the contract. Laura Mohr never received a reply.
TlMOTHY McKENNA and MlCHAEL McKENNA took AWS’s
proposal and either passed it off as their own under MAT Site
Management or used insider knowledge of AWS’s pricing to under bid
AWS.

0 On October 22, 2014, less Travers emailed Robin McGill, et al talking
about how they should add language on invoices they get from McKenna
once the cap is met. This clearly shows LONGVIEW hired the

McKENNAS, while MlCHAEL McKENNA was still employed by the
Company.

0 lmmediately after MlCHAEL McKENNA quit on November 9, 2014,
GAUDIOSO, JlM PORTER and Ron Coruzzi called Robin McGill to
inquire about the proposal. Robin McGill informed them that they have

awarded the contracts to someone else, but she refused to identify the
contract winner.

146. LONGVIEW’s internal communications regarding TlMOTHY
McKENNA and MlCHAEL McKENNA reflect that management of LONGVIEW was not
impressed by Tll\/IOTHY McKENNA and MlCHAEL McKENNA and their work. Yet,
TlMOTHY McKENNA and MlCHAEL McKENNA held LONGVIEW’S contracts for over ten
years
Matt Sibley

147. M&M, owned by SlBLEY, is a subcontractor that the Company engaged
with during the 2013/2014 snow season and prior seasons SlBLEY has worked with
TIMOTHY McKENNA/MlCHAEL McKENNA for many years SlBLEY had an outstanding
balance at the end of the snow season (as all the snow subcontractors did) due to the activities of
MlCHAEL McKENNA and Tll\/IOTHY McKENNA. lt was not until the Company began its
forensic analysis that it became aware of the true circumstances

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148. At the end of the 2013-14 snow season, GAUDIOSO believed SlBLEY
was owed about $100,000.

149. Communications between SlBLEY and the Company continued
throughout 2014/ 15 regarding monies owed to SlBLEY. Most of the time it was civil. ln
October of 2014 things began to deteriorate. Discussions with SlBLEY took place mostly by
Jim Porter, then the CEO of the Company. These conversations involved settling the debt with
SlBLEY via salt the Company would supply SlBLEY and some arrangement of equipment
financing The Company’s salt supplier was unwilling to participate in the salt arrangement So
Jim Porter and SlBLEY drafted promissory notes totaling $118,500 over three payments
beginning November, 2014. SlBLEY expressed interest in continuing to work with The
Company as a snow subcontractor for the upcoming season and reiterated that he had no interest
in working for TIMOTHY McKENNA or MlCHAEL McKENNA. However, there was an
unexplained urgency around this time expressed by SlBLEY to get the notes signed and
GAUDIOSO, under duress signed them on the advice of Jim Porter and again without the
benefit of the forensic analysis by Asterion This all took place within a week of MlCHAEL
McKENNA quitting his employment with the Company.

150. The Company was unable and unwilling to make the payments to SlBLEY
according to the terms of the note because significate billing irregularities were subsequently
discovered SlBLEY ended up not working for The Company and The Company discovered that
SlBLEY was in fact, working for TIMOTHY McKENNA and MlCHAEL McKENNA/MAT
Site Management on the LONGVIEW sites

151. SlBLEY, GAUDIOSO and Jim Porter continued into January and

February of 2015 to work on coming to a payment arrangement Around February 18, 2015,

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SlBLEY advised GAUDIOSO that he was no longer working for TlMOTHY McKENNA or
MlCHAEL McKENNA because Tll\/IOTHY McKENNA and MlCHAEL McKENNA owed
SlBLEY money.

152. Then on February 17, 2015, SlBLEY called one of the Plaintiffs marquee
customers violating the MSA. SlBLEY was fishing for information to get himself, TlMOTHY
McKENNA and MlCHAEL McKENNA back into that marquee contract

153. Negotiations with SlBLEY ceased and SlBLEY filed suit over the
promissory notes that GAUDIOSO signed

154. lt was also discovered during the Company’s internal audit that
MlCHAEL McKENNA, TlMOTHY McKENNA and SlBLEY conducted salt transactions using
The Company resources for the benefit of MlCHAEL McKENNA, TlMOTHY McKENNA,
SlBLEY and third parties particularly Berg Construction.

o The 8118,000 agreed to is incorrect and incredibly inflated The Company
after subsequent audit owes SlBLEY, at most, about $8,000.

o MlCHAEL McKENNA, showing extreme favoritism to SlBLEY,
approved all SlBLEY invoices even when Laura Mohr and Steven Coruzzi
questioned them.

0 The Company’s maintained a standard arrangement with subcontractors
lnternal, proprietary structure not to be shared outside the company.
However, all the subs knew that’s how it worked as MlCHAEL
McKENNA and Tll\/IOTHY McKENNA shared this information with
them all the time. MlCHAEL McKENNA told Laura Mohr and Steven
Coruzzi that SlBLEY was not to be back charged for salt even though
SlBLEY had contracts for The Company marquee customers to provide
complete snow removal services ~ plowing, labor, calcium and salt.
SlBLEY used The Company’s salt and calcium on both sites And
SlBLEY invoiced The Company for full service, per the contract.
SlBLEY was never back charged for it. The Company calculates SlBLEY
should have been back charged about $51,000 for salt and calcium.

0 Additionally, per the same rate philosophy above, SlBLEY was to provide
all labor on these sites However, MlCHAEL McKENNA had Company
labor on l\/lS’s sites performing every event. The Company calculates that

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SlBLEY should have been back charged at least 820,000 for labor The
Company provided

¢ The Company believes this was a fraud concocted by MlCHAEL
McKENNA, TIMOTHY McKENNA and SlBLEY to allow SlBLEY to

invoice The Company for amounts significantly over what that to which
he was entitled

o Finally, SlBLEY should have been back charged for damages on the
properties for the amount of $4,500, which was never back charged

155 . SlBLEY worked with TlMOTHY McKENNA and MlCHAEL
McKENNA to defraud The Company. SlBLEY lied about not working for TIMOTHY
McKENNA/MlCHAEL MCKENNA. SlBLEY violated the MSA by contacting a major marquee
client. And SlBLEY purposefully defrauded GAUDIOSO by (l) pledging loyalty to The
Company in the face of Tll\/IOTHY McKENNA and MlCHAEL McKENNA departing The
Company and (2) into signing promissory notes for amounts that are false and, in fact,
intentionally inflated

15 6. ln addition, the Company has discovered a paycheck cut for a laborer who
performed snow removal at Met Life Stadium under SlBLEY. SlBLEY invoiced the Company
for this work. lt appears that Strive Force also invoiced the Company for this same laborer. There
is reason to believe this is not the only instance of this fraud
The MCKENNAs

157. Aside from the issues with TlMOTHY McKENNA and MlCHAEL
McKENNA as they relate to third parties there is also extensive fraud committed by Tll\/IOTHY
McKENNA and MlCHAEL McKENNA internally against the Company.

158. GAUDIOSO purchased Laurel Gardens Holdings Laurel Gardens, and
American Winter Services (the Company) in 2012 and relied heavily on TIMOTHY McKENNA
and MlCHAEL McKENNA’s “expertise” and “experience” to manage the Company.

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GAUDIOSO at this time was dealing with his wife’s serious health issues TlMOTHY
McKENNA and MlCHAEL McKENNA took advantage of this situation to benefit themselves
personally.

159. Tll\/IOTHY McKENNA never revealed to GAUDIOSO before
GAUDIOSO bought the Company how significant TlMOTHY McKENNA’s financial problems
were (owing millions to the lRS and hundreds of thousands in personal loans to various
individuals). Tll\/IOTHY McKENNA also never revealed that Tll\/lOTHY McKENNA was
banned from the Company’s most significant customer.

160. The Company was expelled from WSFS bank in May 2012 as they would
not allow Tll\/IOTHY McKENNA to be a signer on any accounts Artisan’s bank threatened the
same so GAUDIOSO had to become a signer on all Company accounts

161. TlMOTHY McKENNA’s thefts can be traced back to at least 2012, At the
time a signer on the bank account, Tll\/IOTHY McKENNA wrote himself thousands of dollars’
in checks and never provided backup or receipts despite repeated requests TlMOTHY
McKENNA would claim he needed to be paid back for something but would never provide back
up. Tll\/IOTHY McKENNA claimed he paid SAUL EWlNG a $10,000 retainer but never
provided back up and Saul Ewing never applied this retainer to the Company’s bills

162. When GAUDIOSO found out about McKENNA’s fraudulent conduct
GAUDIOSO appointed new management and took a more direct managerial role in the
Company, had Tll\/IOTHY McKENNA sign a document admitting he stole funds of the
Company and removed Tll\/IOTHY McKENNA’s ownership and check signing from the
company. TlMOTHY McKENNA promised he would discontinue his fraud TlMOTHY

McKENNA gave GAUDIOSO permission to monitor Tll\/IOTHY McKENNA’s personal bank

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account which Laura Mohr, the Company’s bookkeeper and administrator, already had access to
from when WlLKlNSON owned the Company.

163. lt is at this point, however, TlMOTHY McKENNA decided that
GAUDIOSO had stolen TIMOTHY McKENNA’s company and TIMOTHY McKENNA would
destroy the Company and GAUDIOSO personally.

164. TIMOTHY McKENNA was in a constant juggling act of paying debts by
going further into debt. He would pay debts off by either borrowing from a third party, stealing
Company assets or just flat out default on payment. For example, Tll\/IOTHY McKENNA
borrowed 812,000.00 from Mclntyre Risk Management that was paid directly to Ed Morgan, a
huge creditor of Tll\/IOTHY McKENNA. The payback was a three-month contract to bring in
new business to Mclntyre. Mclntyre cancelled the contract as TIMOTHY McKENNA didn’t
pedonn.

165. Daily, TlMOTHY McKENNA considered ways on how he was going to
get money out of GAUDIOSO or the Company. GAUDIOSO, at the time sympathetic to
Tll\/IOTHY McKENNA’s situation but still not aware of the scope of his fraud, tried to help
TlMOTHY McKENNA by giving TlMOTHY McKENNA short term loans from the Company
and GAUDIOSO personally that TlMOTHY McKENNA promised to pay back within a day or
week. GAUDIOSO was attempting to keep TlMOTHY McKENNA motivated to work for the
Company. Tll\/IOTHY MCKENNA, so desperate for money, would have the Company write,
with MlCHAEL McKENNA’s consent, MlCHAEL McKENNA’s expense reimbursements to
TlMOTHY McKENNA and even MlCHAEL McKENNA’s paychecks

166. TlMOTHY McKENNA shared company contracts with third parties such

as Saul Ewing to show money coming in that he would have access to. TlMOTHY McKENNA

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not only did this to the Company, but to his own associates as well. TlMOTHY McKENNA
would make notes of Company accounts receivable to see what would be available to steal.

167. From the time Tll\/IOTHY McKENNA was caught stealing by
GAUDIOSO and TlMOTHY McKENNA’s ownership had been removed, Tll\/IOTHY
McKENNA held a thinly veiled threat over the Company of leaving and taking all of the
Company’s customers and MlCHAEL McKENNA with him. Tll\/IOTHY McKENNA said as
much to Ron Coruzzi at a meeting at Sullivan’s Restaurant, also putting out feelers to see if Ron
Coruzzi wanted to join TlMOTHY McKENNA.

168. TlMOTHY McKENNA and MlCHAEL McKENNA claimed expenses
without receipts TlMOTHY McKENNA and MlCHAEL McKENNA turned in receipts that
were found subsequently to be fraudulent having nothing to do with Company business
GAUDIOSO believed that Tll\/IOTHY McKENNA and MlCHAEL McKENNA were ultimately
working for the Company - TlMOTHY McKENNA and MlCHAEL McKENNA were the
Company’s highest paid employees Tll\/IOTHY McKENNA earning over $78,000 per year in
consulting fees and MlCHAEL McKENNA earning 8150,000 per year in salary and benefits
Both Tll\/IOTHY McKENNA and MlCHAEL McKENNA had Company Ford Explorers and the
Company paid health insurance premiums and medical bills GAUDIOSO did not realize how
badly Tll\/IOTHY McKENNA and MlCHAEL McKENNA were conning GAUDIOSO and the
Company.

169. TlMOTHY McKENNA and MlCHAEL McKENNA lived off of the
Company. Tll\/IOTHY McKENNA/MlCHAEL McKENNA submitted on their expense
reimbursements

0 Cigarettes drinks and snacks “hidden” in fuel receipts

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¢ Snacks and drinks for the office that were exclusively for Tll\/IOTHY
McKENNA and MlCHAEL McKENNA.

0 Every single meal, whether a bagel from Wawa or a $45 steak from
Sullivan’s. TlMOTHY McKENNA would turn in meal receipts even if
TlMOTHY McKENNA ate alone.

0 Office supplies for Tll\/IOTHY MCKENNA’S home office including an HP
printer. TlMOTHY McKENNA was constantly purchasing office supplies
for Tll\/IOTHY McKENNA’s home office including refills for his Cross
pen.

0 lf Tll\/IOTHY McKENNA had a personal errand, such as a shoe shine,
Tll\/IOTHY McKENNA would submit the parking fee for reimbursement

¢ Lunch and dinner meetings with potential customers that never

materialized under the guise of Company business with the third parties
that are part of this action.

170. Both TlMOTHY McKENNA and MlCHAEL McKENNA used the
Company owned vehicles fuel, email accounts and expense accounts for their personal and
McKenna American business related activities McKenna American is TlMOTHY McKENNA
and MlCHAEL McKENNA’s defunct company that TIMOTHY McKENNA and MlCHAEL
McKENNA used to continue to do business for themselves outside the Company.

171. Through forensic accounting several criminal activities were uncovered in
February 2016.

172. MlCHAEL McKENNA had a Scam where MlCHAEL McKENNA would
turn in phony credit card receipts he picked up from gas stations There are over 30 instances of
MlCHAEL McKENNA submitting phony credit card receipts as MlCHAEL McKENNA’s own
and being reimbursed

173. MlCHAEL McKENNA had another fuel scam wherein he would submit
“pre-paid” receipts for reimbursement A “pre-paid” receipt is a receipt one is given when one
pays cash up front and then pumps fuel. For example, MlCHAEL McKENNA would pay $100,

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get a “pre~paid” receipt showing 8100 paid Then MlCHAEL McKENNA would pump $80
worth of fuel and get a refund of $20 as well as a final receipt showing the actual fuel amount
purchased MlCHAEL McKENNA would submit the “pre-paid” receipt for reimbursement
MlCHAEL McKENNA knew full well he was to submit “fmal” receipts and not “pre-paid”
receipts for reimbursement as MlCHAEL McKENNA wrote this on several “pre-paid” receipts
subnnued.

174. Additionally, former employee Dan Coggins caught MlCHAEL
McKENNA doing this fraud, confronted him, and MlCHAEL McKENNA promised he would
stop so Dan did not report it. Dan did copy all of the receipts in question, totaling S5,857.93 from
February, 2013 - l\/lay 2013. The only reason this activity stopped was because in April, 2014
the Company began using a more secure fleet fuel card service that prevented cash fuel
transactions However, TlMOTHY McKENNA and MlCHAEL McKENNA attempted several
fraudulent fuel reimbursements by submitting fleet card receipts as reimbursable cash receipts

175. Spreadsheets analyzing TlMOTHY McKENNA and MlCHAEL
McKENNA’s expenses and loans outline a massive fraud To date, TlMOTHY McKENNA and
MlCHAEL McKENNA have stolen over 8500,000 from the Company. Detailed analysis of
TIMOTHY McKENNA and MlCHAEL McKENNA’s expenses is ongoing

176. TlMOTHY McKENNA took kickbacks from customers and vendors
TIMOTHY McKENNA lived off of personal loans from several Company lenders vendors
customers and associates and stole Company resources to pay them back - offering “free”
landscaping or snow removal in exchange for loans or personal debt forgiveness TIMOTHY

McKENNA’s partial financial records indicate between December, 2012 and June, 2014,

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transactions between TlMOTHY McKENNA and these individuals that are clearly loans and
lomipaybacks

o SlBLEY - 811,000.00

0 Apex Engineering - 818,000.00

o STRlVEFORCE - 856,300.00\

0 Joe Scali - 859,000.00

0 Sabatelli Trucking - 88,800.00

o EAISE - 845,000.00

o Doug McKenna - 815,000.00

¢ FALCONE - 856,000.00

o Chip French - 818,500.00

o Ed Morgan - 8195,340.00

0 Kathy Morgan - 820,000.00

0 J. Ray Patterson ~ 89,200.00

0 Norman Aerenson - 810,000.00

0 Jim Colburn - 83,500.00

o Zeigler - 818.000.00

o Urban, Poole, & Heath - 847,650.00

o Charlene Walters - at least 810,000.00

o Dan Bachtle, Edge Construction - 89,000.00

o WlLKlNSON - 8212,510.00

o HANK JULlCHER - 816,100.00

o MOON NURSERIES - 82,500.00

o PAUL lSKEN and DON lSKEN ~ est. 8200,000.00

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0 MEYERS - 855,000.00

177. There are significantly more transactions than those set forth in paragraph
162 hereinabove and they went unreported at tax time.

178. TlMOTHY McKENNA arranged to make the payments on Kathy
Morgan’s Cadillac as payment of a personal debt, yet the Company ended up having to make the
payments as Tll\/IOTHY McKENNA had no money.

179. TlMOTHY McKENNA made deals that were bad for the Company but
good for him. TlMOTHY McKENNA purchased a CAT machine at above any reasonable
market value, exclusively to do site work for WlLKlNSON at seriously below market rates

180. TlMOTHY McKENNA volunteered to head up American Winter
Services’ (AWS) salt supply during the 2013/ 14 snow season and because of his “experience”
and “expertise” GAUDIOSO agreed, before the breath of the continuing frauds that had been
discovered against the Company. Tll\/IOTHY McKENNA used this position to broker deals to
benefit himself, pay back personal debts (EAlSE, AERENSON and SlBLEY) and generally
position himself to create personal advantages resulting in hundreds of tons of unaccounted for
salt and thousands of pounds of unaccounted for calcium.

181. TlMOTHY McKENNA spent a lot of time and money on tickets ~
representing them as a perk anyone doing business with the Company would enjoy. TlMOTHY
McKENNA promised several associates of the Company tickets for the Super Bowl. He
presented himself as having special connections that could acquire tickets where others could
not TlMOTHY McKENNA, in fact, purchased tickets at regular prices through StubHub and
ticket brokers submitting the receipts to the Company as expenses

182. Dan Bachtle, Eric Dunn and The Horsey Foundation were the most

significant examples of TlMOTHY McKENNA’s deceit Tll\/IOTHY McKENNA was given

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large loans in exchange for super bowl tickets TlMOTHY McKENNA never delivered the
tickets Eric Dunn in particular had gone to great expense (in excess of 8100,000) booking
hotels and flights to New Orleans and was literally at the door of the stadium when he discovered
Tll\/IOTHY McKENNA had not delivered the tickets The Company had to pay Dunn 8100,000
on Tll\/IOTHY McKENNA’s behalf for Tll\/IOTHY McKENNA’s theft and Dunn is still owed
850,000 from these transactions

183. During the summer of 2014, the Company was actively pursuing snow
contract renewals for the upcoming 2014/ 15 season. MlCHAEL McKENNA was spearheading
this activity. Around August, MlCHAEL McKENNA informed Ron Coruzzi and Steven Coruzzi
that MlCHAEL McKENNA received a phone call from Ralph Magnatta of Brite Realty.
MlCHAEL McKENNA told Ron Coruzzi and Steven Coruzzi that Ralph informed him that Brite
would not be renewing snow contracts with the Company because “you know why.” MlCHAEL
McKENNA explained to Ron Coruzzi and Steven Coruzzi that “you know why” must have
something to do with TlMOTHY McKENNA but played dumb as to what this actually meant

184. Then around the beginning of October, 2014, an email exchange took
place between Laura Mohr and Tara lvins a property manager for Endurance Realty. Tara lvins
advised Laura Mohr that she would not be renewing snow contracts with the Company due to an
outstanding bill with Atco Fence Company. Laura Mohr informed Tara lvins that the invoice in
question was paid in a timely manner, but Laura Mohr never received a response back from Tara
lvins The Company was also not awarded other Endurance contracts the Company had held for
several years

185. ln mid-October 2014, MlCHAEL McKENNA sent an email to a major

marquee customer asking “if there was still an opportunity to...provide a proposal”. As a

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significant customer for several years the Company was under the impression that MlCHAEL
McKENNA was actively pursuing this important renewal well before October. MlCHAEL
McKENNA, Ron Coruzzi and Steven Coruzzi rushed to produce a proposal which MlCHAEL
McKENNA submitted on November 7 - two days before MlCHAEL McKENNA quit The
Company was not awarded the contract

186. At the end of October, the Company inquired to its contact at CBRE,
Bridget O’Halloran, as to the status of the snow contract for Warrington Plaza, a contract the
Company had for several years Bridget O’Halloran informed the Company that CBRE decided
to go with another contractor. When the Company asked which contractor Bridget O’Halloran
advised they hired l\/IERIT.

187. The Company performed snow removal for Lipinski during the 2012/ 13
season, Around February of 2013, Lipinski terminated the contract over some unclear
complaints they had The Company was owed 848,000 for work performed and Lipinksi refused
to pay.

188. GAUDIOSO, TlMOTHY McKENNA and the Vice Chairman of Lipinski
met to discuss and the Vice Chairman indicated he would see what he could do. To date, the bill
remains unpaid ln consort with Tll\/IOTHY McKENNA’s usual conduct, the Company believes
and, therefore, avers that this receivable was converted by Tll\/IOTHY McKENNA for
Tll\/IOTHY McKENNA’s own benefit to curry favor with Lipinski. Tll\/IOTHY McKENNA and
the owner of Lipinksi are longtime friends and associates Lipinksi is now contracting as
MERlT.

189. Then, just after November 9, 2014, the day MlCHAEL McKENNA quit,

GAUDIOSO, Jll\/l PORTER and Ron Coruzzi contacted Robin McGill of Longview to check on

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the status of the proposals the Company submitted Robin McGill informed GAUDIOSO and
Ron Coruzzi that the snow contracts were awarded to another contractor. When asked which
contractor, Robin McGill refused to answer.

190. Also during this time, the Company was pursing renewals of snow
contracts with US Facilities. The Company was having a difficult time arranging a meeting with
its contact lt was learned that TIMOTHY McKENNA had been in contact with US Facilities in
an attempt to steal the contract from the Company while he was still employed by the Company.
Through a Chancery Court proceeding where the Company was awarded a Temporary
Restraining Order against TIMOTHY McKENNA, MlCHAEL McKENNA and Arnold Dunn, it
was discovered that TIMOTHY McKENNA and MlCHAEL McKENNA had already been
awarded the US Facilities contracts at the insistence of the Chief Judge of Family court.

191. A short time after the sudden and unexpected loss of all of these
significant contracts the Company discovered that on September 5, 2014, Tll\/IOTHY
McKENNA, MlCHAEL McKENNA and Arnold Dunn and Catharine McKenna (TlMOTHY
McKENNA’S wife) had incorporated a company called MAT Site Management (l\/lichael
Arnold Timothy-standing for MAT), apparently with the help of FALCONE of SAUL EWING.
lt has been learned that MAT Site Management was awarded snow contracts by at least
LONGVIEW, US Facilities Brite Realty and the Company suspects others The LONGVIEW
contracts were awarded to MAT Site Management as a reward for Tll\/IOTHY McKENNA
getting LONGVlEW out of paying the Company over 8400,000 in proper snow invoices from
the 2013/ 14 snow season.

192. lt is believed that MlCHAEL MCKENNA, while still employed by the

Company, was not pursing contracts on the Company’s behalf but on the behalf of MAT Site

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Management. ln an email from Jackie Scanzello of LONGVIEW to Laura Mohr wherein Jackie
Scanzello asks for a digital copy of the proposal Tll\/IOTHY McKENNA dropped off and also in
an email where Robin McGill indicates “. . .if MlCHAEL McKENNA leaves . .” showing Robin
McGill knew MlCHAEL McKENNA was intending on leaving the Company as early as July 1,
2014. lt is also believed that when snow contracts held previously by the Company were not
awarded to MAT Site Management, TlMOTHY McKENNA and MlCHAEL McKENNA had a
hand and benefited in getting those contracts awarded elsewhere for instance, to Merit.\

193. Since Tll\/IOTHY McKENNA’s termination in June, 2014 and the
incorporation of MAT Site Management on September 5, 2014, the Company has “lost” snow
contracts with:

0 Longview

o Endurance

o Brite Realty

¢ U.S. Facilities

o CBRE

0 Brooks Range (SSA)

0 Citizens Bank Park

o Met Life Stadium

194. These contracts had been held by the Company for many years generating
almost 83,000,000 in gross revenue for the Company in 2013/ 14 - almost two-third of the total
gross revenue earned by the Company that season,

195. Since MlCHAEL MCKENNA’S resignation on November 9, 2014,
TlMOTHY McKENNA and MlCHAEL McKENNA have continued to engage in criminal

activity that harms the Company. Specifically:

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0 TlMOTHY McKENNA contacted the Company’s insurance agent asking
if he provided the Company with any insurance. Tll\/IOTHY McKENNA
indicated that if that agent would provide Tll\/IOTHY McKENNA with
insurance that Tll\/IOTHY McKENNA could obtain a marquee contract
TIMOTHY McKENNA also said that if the Company agent did provide
insurance to the Company, that WlLKlNSON, a large customer of the
agent, would pull his business from the agent

0 TlMOTHY McKENNA asked for a meeting with a former subcontractor
of Tll\/IOTHY McKENNA who TlMOTHY McKENNA Still owes a lot of
money. The subcontractor performed snow removal services for
TIMOTHY McKENNA at one time and continues to do so today under
the subcontractor’s own contracts The Company and the subcontractor
have recently entered into a contract for services at a site. TIMOTHY
McKENNA apparently lured the subcontractor into the meeting with a
plan to get all of his money that he is owed At the meeting, TIMOTHY
McKENNA indicated that he needed to act fast and for 85,000 cash
TlMOTHY McKENNA could facilitate getting a marquee contract for the
subcontractor. The subcontractor declined The company filed a
Contempt of Court proceeding against TlMOTHY McKENNA for
violation of the TRO. lt has been learned that just before the New Year
and after the Company filed a Contempt of Court proceeding for violation
of the TRO, TlMOTHY McKENNA again contacted the subcontractor
and askedif subcontractor was in business with the Company. TlMOTHY
McKENNA shows a willful disregard for the court mandated TRO.

0 On or about the beginning of 201 5, HANK JULICHER threatened
GAUDIOSO and the Company with an involuntary bankruptcy that was
being organized by Tll\/IOTHY McKENNA and involved HANK
JULlCHER and SlBLEY. TlMOTHY McKENNA has been attempting to
organize this involuntary bankruptcy since at least the time he was
terminated, although suspicion is that it’s been planned since GAUDIOSO
purchased the Company. TlMOTHY McKENNA has said repeatedly that
he intends to destroy the Company and GAUDIOSO personally.
GAUDIOSO was told by John Morgan of Chemical Equipment Labs that
during a conversation Morgan had with MlCHAEL McKENNA, Morgan
asked MlCHAEL McKENNA why MlCHAEL McKENNA left the
Company. MlCHAEL McKENNA replied that MlCHAEL McKENNA’s
father (TIMOTHY McKENNA) was “obsessed” with destroying the
Company and “when TlMOTHY McKENNA sets TIMOTHY
McKENNA’s mind on something like that TIMOTHY McKENNA
doesn’t let it go.”

196. Tll\/IOTHY McKENNA kept a lot of personal financial information in the

Company offices and TlMOTHY McKENNA’S assistant, Mary Tresize handled all of

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Tll\/IOTHY McKENNA’s personal and business finances She used a Company owned laptop,
her personal email account, and a hand written ledger containing symbol notations that seem to
indicate if a check cleared, was returned, or was a Stop payment Between January, 2013 and
June, 2014 there were:

¢ Stop Payments - 8158,929.36

0 NSF Retumed Checks - 8563,554.73

197. As demonstrated in the worksheets TlMOTHY McKENNA bounced a
significant number of checks He promised to pay people, would give them a check, and then
stop payment on it His bank account was constantly overdrawn and checks would be returned
Tll\/IOTHY McKENNA would write checks to Janssen’s Market to get cash as his bank would
not cash his checks because there were no funds to cover in his account

198. Despite unequivocal instructions from GAUDIOSO to the contrary,
TlMOTHY McKENNA and Mary Tresize did McKenna American work from the Company
offices and had McKenna American correspondence sent to the Company office. TlMOTHY
McKENNA performed almost no work on behalf of the Company during the period from early
2014 until GAUDIOSO fired him for cause in June, 2014.

199. Tll\/IOTHY McKENNA used Company assets and his time was spent
exclusively to work deals for himself. He contracted with MJL Enterprises through his defunct
company, McKenna American, to deliver salt for the State of NJ. He contracted with lndian
Valley to haul the salt But lndian Valley was charging TlMOTHY McKENNA more that
Tll\/IOTHY McKENNA was making from MJL Enterprises lndian Valley wasn’t getting paid
and would call the Company office looking for payment even though the Company had nothing

to do with it All TlMOTHY McKENNA cared about was having an income stream ~ paying his

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vendors was not a concern. And because McKenna American was not a real company and had no
bank account, MJL Enterprises was inappropriately paying TlMOTHY McKENNA personally,
wiring payments directly to TlMOTHY McKENNA’s personal bank account

200. Tll\/IOTHY McKENNA fraudulently had health insurance for himself and
his wife Catherine through TlMOTHY McKENNA’s defunct McKenna American. ln order to
keep the minimum number of “employees” required to keep the coverage in force he covered
Company employed laborers as McKenna American employees even though they did absolutely
no work for McKenna American. The Company was reimbursing TlMOTHY McKENNA for his
health insurance premiums

201. TlMOTHY McKENNA spent a considerable amount of time working on a
coal mine/natural gas deal with an attorney named Joe Scali that involved SNYDER and
FALCONE of SAUL EWING, MEYERS, and others Joe Scali also loaned Tll\/IOTHY
McKENNA at least 850,000 and it is unclear if Joe Scali has been paid back.

202. Tll\/IOTHY McKENNA attempted to maintain a certain lifestyle he and
his wife, Catherine were accustomed to. He maintained memberships at Greenville and
Fieldstone Country Clubs struggled to pay for them, yet was never ejected. lt is believed that
WlLKlNSON actually owns Tll\/IOTHY McKENNA’s Fieldstone membership

203. Tll\/IOTHY McKENNA claimed he was unable to claim bankruptcy
because that would mean losing his house, his health insurance and his social status
MJL Enterprises

204. MJL Enterprises is a company based in Virginia that sells materials to

various government agencies

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205. ln January, 2014, LG was introduced to MJL Enterprises by a common
vendor.
206. Marty Hierholzer and Ron Halsey of MJL Enterprises had dinner with
TlMOTHY MCKENNA, Ron Coruzzi, and GAUDIOSO around March, 2014 at Sullivan’s near
the Company’s office location. lt was about this same time that TlMOTHY McKENNA and MJL
Enterprises began a salt transaction deal that took place with no Company involvement
207. The Company spent hundreds of hours assembling a bid as MJL
Enterprises’ subcontractor for the State of NJ’s “Good Neighbor Program.” MJL Enterprises had
no landscaping experience and relied completely on the Company’s expertise.
208. Per the required specifications in the NJDOT bidding documents the
Company was identified specifically in the bid documents as the subcontractor party that would
be providing the landscaping services
209. MJL Enterprises represented to the Company that the Company would be
providing the landscaping for any work awarded to MJL Enterprises under the Good Neighbor
Program. On August 13, 2014 the bid was approved
210. On or about September 4, 2014, TlMOTHY McKENNA and MlCHAEL
McKENNA and Amold Dunn, a neighbor of TlMOTHY McKENNA, set up a company called
MAT Site Management at the time unbeknownst to anyone at the Company.
211. On September 23, 2014, the State of NJ informed MJL Enterprises and the
Company via email that it wanted landscaping work in Hackensack, NJ performed
212. On September 26, 2014, the Company, specifically Ron Coruzzi and
MlCHAEL McKENNA, met with NJDOT employees at the site in Hackensack, MJL

Enterprises did not attend

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213. On October 10, 2014, NJDOT issued a work order to MJL Enterprises as a
result of the meeting

214. On October 22, 2014, MJL Enterprises submitted a purchase order and
contract to MlCHAEL McKENNA for work in Hackensack, NJ. The contract terms were
inconsistent with the N.l bid requirements and specifically limited the contract to a project by
project basis in direct conflict with the three year term of the NJ contract MlCHAEL
McKENNA did not notify anyone at the Company about the purchase order with the intention of
forcing the Company to lose the contract and MAT Site Management gaining the contract

215. On or about November 7, 2014, the Company paid off a loan from
PETTlNARO or (Greg Pettinaro if not an initial defendant?). lt was discovered that MlCHAEL
McKENNA told TlMOTHY McKENNA about this and TIMOTHY McKENNA told HANK
JULlCHER, also a creditor of the Company. HANK JULICHER called Jim Porter, then CEO of
the Company, screaming about the Company paying PETTlNARO and not HANK JULICHER.
Ron Coruzzi confronted MlCHAEL McKENNA about this unauthorized disclosure of
confidential company information despite his previous promise to Gaudioso and Ron Coruzzi to
be a loyal employee which Gaudioso rewarded with a buy in opportunity. MlCHAEL
McKENNA admitted he shared this confidential company information with Tll\/IOTHY
McKENNA. Tll\/IOTHY McKENNA had been fired for cause back in June of 2014.
MlCHAEL McKENNA quit on November 9, 2014 before Ron Coruzzi could speak further to
MlCHAEL McKENNA about this breach of fiduciary duty,

216. On or about November 11, 2014, the Company discovered the purchase
order for the Hackensack work and contacted MJL Enterprises to notify them about MlCHAEL

McKENNA’s departure and ascertain what damage MlCHAEL McKENNA had done.

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217. On November 14, 2014, Ron Coruzzi received a ca11 from Ron Halsey
informing Ron Coruzzi that MJL Enterprises had decided to go in a different direction and would
have the Hackensack project completed by someone else. MJL Enterprises refused to identify
who would be doing the work. Ron Coruzzi reminded Ron Halsey that the Company had an
outstanding purchase order for the work and within minutes Ron Coruzzi received an email from
Ron Halsey cancelling the purchase order. The Company was also informed that MJL
Enterprises would not be using the Company as its exclusive landscaping contractor in
connection with the Good Neighbor Project

218. On January 6, 2015, the Company advised MJL Enterprises that refusal to
use the Company as its landscaping contractor under the Good Neighbor Program was a breach
of NJDOT contract and the Company sent MJL Enterprises an invoice for 8160,000 for the work
the Company put into the bid

219. On March 9, 2015, MJL Enterprises filed suit against the Company in
Virginia for amounts they claimed were lost due to the Company’s delay in beginning the
Hackensack project The truth of which is the project manager for the Hackensack project
postponed the project until spring per an email to Ron Coruzzi.

220. On March 18, 2015, MJL Enterprises in collusion with the MCKENNA’s
submitted to Tll\/lOTHY McKENNA the bid documents required to operate as a subcontractor
under the NJ Good Neighbor Program.

221. The TRO the Company obtained against Tll\/lOTHY MCKENNA,
MlCHAEL McKENNA and MAT Site Management on January 16, 2015 included that the only

dealings they could have with MJL Enterprises was Tll\/IOTHY McKENNA’s salt deal.

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222. TlMOTHY McKENNA’s salt contract was between MJL Enterprises and
McKenna American, Tll\/IOTHY McKENNA’s company that was and remains defunct The
contract provided for McKenna American trucking salt MJL Enterprises purchased via McKenna
American from Chemical Equipment Labs at 89.00/ton to various locations in NJ. MJL
Enterprises inappropriately wired payments directly to TlMOTHY McKENNA and not to a
McKenna American bank account because McKenna American could not open a bank account

223. TlMOTHY McKENNA then sub-contracted with lndian Valley to do the
hauling of the salt But the cost of the hauling was set at 814.25/ton. TlMOTHY McKENNA
lost money on each haul, but didn’t care. As long as he could invoice MJL Enterprises and retain
the proceeds for himself, he did not care about paying lndian Valley as evidenced in the many
emails between lndian Valley and TlMOTHY McKENNA where lndian Valley is demanding
payments having stop payments put on checks and threating to take legal action. Per
TlMOTHY McKENNA’s bank ledgers TlMOTHY McKENNA was only able to pay lndian
Valley via wire transfers into Tll\/IOTHY McKENNA’s account from WlLKlNSON.

224. lt is unclear, but emails show remaining balances due to Tll\/IOTHY
McKENNA went to either MEYERS or to TECHlVATE, WlLKlNSON’s trucking company that
took over the hauling
Moon Nurseries

225. TlMOTHY McKENNA concocted a “plants-for-salt” deal with PURSELL
of MOON NURSERIES.

226. Under the deal, 8250,000 in plants were to be delivered at retail but traded
at their cost and AWS’ salt cost The plants had a 20% mark-up, and the deal was for plants at

cost for salt at cost plus 5% for shipping and handling That meant that 8208,000 in salt plus

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shipping translated into 8250,000 in plants at their standard retail in exchange Any additional
salt deliveries were to be paid in cash.

227. By the end of December, 2013, MOON NURSERIES had accrued about
8125,000 in salt At this time, GAUDIOSO became suspicious of the deal and told TlMOTHY
McKENNA to stop further deliveries of salt to MOON NURSERIES. Tll\/IOTHY McKENNA
ignored this. 9

228. By Mid-January, MOON NURSERIES had accrued about 8350,000 in
salt

229. When the Company went to collect MOON NURSERIES refused to pay,
saying they did not receive certain salt shipments

230. MOON NURSERIES agreed that they gave the Company 8137,000 in
plants The total at their retail price for plants was supposed to be 8250,000.

231. Plaintiffs provided MOON NURSERIES, approximately 8168,000 of salt
over the value of plants delivered ln addition, there were other loads that were shipped that they
were disputing resulting in another approximately 850,000.

232. The actual cash and plant amounts tied to the Company’s accounts
payable, is over 8300,000.

233. The “plant exchange value” in the calculation was not all received lt is a
number that was supposed to be received in order to arrive at the amount of cash owed

234. The Company did not know going into its contract with MOON
NURSERIES that MOON NURSERIES has a long reputation for this kind of behavior which

was why MOON NURSERIES could not get salt from anyone unless they paid cash. The

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Company relied on TlMOTHY McKENNA working for the Company when he was actually
working for his and MOON NURSERIES benefit

235. Moreover, MOON NURSERIES was reportedly in serious financial
trouble. They were cash poor, but they had plants -- plants that the Company needed for the
following season,

236. lt was subsequently learned by the Company through emails from John
Lynch to TlMOTHY McKENNA over the Company’s servers that Tll\/IOTHY McKENNA was
claiming he had a 8300,000 personal credit with MOON NURSERIES.

237. Ultimately, TlMOTHY McKENNA set up this dealing knowing full well
that MOON NURSERIES would not uphold their end of the deal, giving TlMOTHY
McKENNA that asset to use for his own benefit - a plants credit for his future use.

238. HANK JULlCHER was a lender to the Company. The Company owed
HANK JULlCHER 8275,000. HANK JULlCHER agreed to take the plants that the Company
did receive from MOON NURSERIES for a 8100,000 reduction of the debt HANK JULlCHER
then convinced TlMOTHY McKENNA to assume another 8100,000 of the Company’s debt,
leaving 875,000 the Company owed to HANK JULlCHER.

239. ln June 2015, GAUDIOSO first learned that HANK JULlCHER was
working with TlMOTHY McKENNA and had made a significant financial investment in MOON
NURSERIES. HANK JULlCHER was putting substantial pressure on GAUDIOSO, going so
far as to threaten violence, to settle the “plants-for-salt” issue with MOON NURSERIES for
much less that the Company was owed

240. GAUDIOSO, in a meeting with WRIGHT who is HANK JULlCHER’s

partner, asked if he could help WRlGHT and HANK JULlCHER with MOON NURSERIES and

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WRIGHT replied, “We have MOON NURSERIES under control”. So HANK JULlCHER,
unknown to GAUDIOSO at the time, was negotiating with an entity that had defrauded the
Company. Moreover HANK JULlCHER had taken a “controlling” financial interest using
Company information in that very entity that HANK JULlCHER knew, with TlMOTHY
McKENNA’s help, had defrauded the Company.

241. lt is believed and therefore averred that MOON NURSERIES delivered
these plants on WlLKlNSON’s property for use next spring
Saul Ewing

242. Saul Ewing was counsel of record for Laurel Gardens Holdings (the
Company) from March 2012 through February 2015, ln August of 2012, Saul Ewing executed
the documents that removed TlMOTHY McKENNA’s .001% ownership and made GAUDIOSO
the sole member.

243. Evan Foster said to GAUDIOSO that Saul Ewing only represents the
Company, not GAUDIOSO personally or anyone else at the Company.
Dave Falcone

244. TlMOTHY McKENNA, MlCHAEL McKENNA and Dave Falcone
conspired to steal Company labor and resources to perform extensive free work at Dave
Falcone’s house in exchange for legal work and personal loans from Dave Falcone to Tll\/lOTHY
McKENNA and MlCHAEL McKENNA.

245. This free work was also performed at another property owned by Dave
Falcone, 453 Marlbridge Road Once GAUDIOSO became aware of TlMOTHY McKENNA

and MlCHAEL McKENNA’s activity, he advised Evan Foster and FALCONE. FALCONE

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panicked and immediately paid the Company for the work it invoiced him for, about 826,000.
The Company has since discovered more work the Company provided Falcone.
Improper Billing

246. On at least one instance, Saul Ewing (Evan Foster in particular) used the
Company’s Saul Ewing account to bill TlMOTHY McKENNA, MlCHAEL McKENNA,
Catherine McKenna (TlMOTHY McKENNA’s wife) and/or McKenna American for legal
services This was done as according to Evan Foster’s email, “neither McKenna American nor
the MCKENNA’S personally are active clients in our system”. The Company paid this bill. The
Company believes and therefore avers it has paid for other non-Company related legal expenses
that were actually for the MCKENNAS.

247. At the same time, Saul Ewing generated this invoice, Saul Ewing was
billing the MCKENNAS under a Saul Ewing account called “lron Oak Development,” which
was an entity Tll\/IOTHY McKENNA owned with PETTlNARO. Not sure accurate??

248. Also, Saul Ewing did not want to officially represent McKenna American
as McKenna American owed Saul Ewing a significant amount of money.

John Snyder

249. SNYDER, supervisor to Evan Foster and FALCONE, unethically
represented or participated with TIMOTHY McKENNA on a number of occasions in conflict
with his representation of the Company:

0 He represented TlMOTHY McKENNA on TlMOTHY McKENNA’s
issues with the lSKEN.

¢ On or about September, 2012, he advised TlMOTHY McKENNA on
TlMOTHY McKENNA’s employment contract with the Company, which
GAUDIOSO found out about and advised SNYDER that he cannot do.

¢ He developed a program with TlMOTHY McKENNA and Dave Horsey
to get Horsey’s sand approved for oil drilling

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0 He, along with TIMOTHY MCKENNA, WlLKlNSON, and MEYERS
defrauded Wilmington Trust by hiding an asset WlLKlNSON owned, the
Mica quarry, valued at 825,000,000.

250. ln June 2014, shortly after Tll\/IOTHY McKENNA was terminated for
cause by the Company, John Snyder, friends with TIMOTHY McKENNA since at least college,
told TlMOTHY McKENNA he could no longer associate with him.

251. Around February, 2015, the Company received a termination letter from
Saul Ewing, indicating Saul Ewing would no longer represent the Company due to an
outstanding balance. This balance was a mere few hundred dollars
Frank Alcaraz/Strive Force

252. Strive Force, a company operated by ALCARAZ, provided labor and
payroll services to the Company for snow removal. ALCARAZ is also the Vice President of
Finance for WlLKlNSON.

253. Because of their experience in the snow removal business Tll\/IOTHY
McKENNA and MlCHAEL McKENNA were left to run snow removal operations for The
Company per GAUDIOSO’S instruction. Like other instances Tll\/IOTHY McKENNA and
MlCHAEL McKENNA, in collaboration with ALCARAZ used their positions to commit fraud
against The Company, diverting funds and resources to forgive debts owed by Tll\/IOTHY
McKENNA and MlCHAEL McKENNA.

254. The Company entered into a contract with STRlVE FORCE for snow
labor. ALCARAZ, in conjunction with MlCHAEL MCKENNA, assembled hours and issued
paychecks for the snow laborers and submitted to The Company bulk payroll amounts due to
Strive Force ~ without back up. Per TIMOTHY MCKENNA, “Frank Alcaraz adds 10% to the
labor number each week to cover his costs”. The Company paid the amounts claimed due by

ALCARAZ in good faith as there was no cause to think otherwise.

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25 5. During an extremely busy winter, numerous errors were made by
ALCARAZ and MlCHAEL McKENNA (missing laborers missing checks incorrect check
amounts) and it had become apparent that ALCARAZ and MlCHAEL McKENNA were terrible
at keeping track of the snow labor. Ron Coruzzi began assisting in this task and the paperwork
improved

256. At the conclusion of this above average snow season when The Company
began reconciling the Strive Force account, it had to request all back up for the entire season
from ALCARAZ, which he did eventually supply. The Company discovered an extensive
amount of discrepancies in the invoicing from Strive Force. Spreadsheets were produced
detailing these errors

25 7. The Company was advised by Tll\/lOTHY McKENNA that “Frank needed
to make 25% for costs and profit”. lt wasn’t until after the snow season while the Company was
reconciling the Strive Force account that the Company realized that the contract rates Strive
Force charged The Company gave STRIVE FORCE a 40% profit This was intentional to get
the Company to cover money owed to ALCARAZ and possibly WlLKlNSON by TlMOTHY
McKENNA and MlCHAEL MCKENNA.

25 8. There were also a significant number of paychecks written to laborers that
were never handed out and never cashed The Company was invoiced by STRlVE FORCE for
these checks for about 83,000. Also, the Company has discovered one check cut by ALCARAZ
for a laborer employed by SlBLEY for snow removal at Met Life Stadium. Both Frank Alcaraz
and SlBLEY invoiced the Company for this laborer.

259. ln addition to significant invoicing errors Strive Force was to be back

charged for van rentals food, fuel, and cash used to perform snow removal. Once The Company

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analyzed the invoices and took into account the back charges it was shocked to learn that the
Company had overpaid Strive Force and Frank Alcaraz by over 8200,000. Yet, Frank Alcaraz
claims that he is owed 8220,000 by The Company.

260. The Company believes and, therefore, avers that, with Tll\/IOTHY
McKENNA and MlCHAEL McKENNA’s help, ALCARAZ submitted inflated labor amounts to
The Company to pay debts owed to Frank Alcaraz and/or WlLKlNSON.

Charles Wilkinson

261. WlLKlNSON is the owner of Wilkinson Builders and the former owner of
LG. TlMOTHY McKENNA and WlLKlNSON have a “special” relationship

262. WlLKlNSON and Tll\/IOTHY McKENNA along with ALCARAZ created
phony credit card charges on a company Al\/IEX that was in TlMOTHY McKENNA’s name but
was for company use only. The card was provided by Chemical Equipment Labs as a way to help
the Company.

263. On two separate occasions in April through June 2013, phony charges
were made to this card through WlLKlNSON’s merchant account with the cash going to
Tll\/IOTHY McKENNA. The Company paid the charges not knowing they were phony.

264. After GAUDIOSO found out, TlMOTHY McKENNA signed a confession
saying he stole 868,000 with a promise to pay it back, lt has never been paid back.

265 AtlTMOTHY NRKENNA mm NHCHAEL NRKENNA@ Mmmmm
unbilled work was performed for WlLKlNSON using stolen Company assets at White Clay
Knoll, the “Brick House”, and Chrissy Wilkinson’s residence.

266. Tll\/IOTHY McKENNA and MlCHAEL McKENNA arranged a contract

with WlLKlNSON were the Company would dig basements for 8750 per basement Tll\/IOTHY

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McKENNA also arranged the purchase of a CAT machine to dig the basements faster. Forensic
review has shown that 8750 per basement was well below market and the Company was losing
money on each basement This was purposefully done by TlMOTHY McKENNA and
MlCHAEL McKENNA for their benefit with WlLKlNSON

267. WlLKlNSON has financially supported TlMOTHY McKENNA for years
and continues to do So.

268. WlLKlNSON is also the owner of TECHNIVATE a trucking company
TlMOTHY McKENNA used for his personal salt deal with MJL Enterprises . .a deal TlMOTHY
McKENNA worked on using Company assets TlMOTHY McKENNA purposefully arranged
this deal to lose money. His trucking contract rates with lndian Valley trucking was more than he
was getting paid by MJL Enterprises TlMOTHY McKENNA did not care as he is only ever
interested in collecting whatever he can without regard to what he needs to pay out

269. TlMOTHY McKENNA also arranged to have TECHNIVATE perform
snow removal at AERENSON’s Polly Drummond Shopping Center and to invoice AWS for
those services TIMOTHY McKENNA was giving AERENSON free snow work in exchange for
' a loan.

270. On November 19, 2015, Laura Mohr received a phone call from Dave
Clark of Wilkinson to allegedly offer Laura Mohr a job. Dave Clark indicated they had a lot of
developments opening This is where the Company believes “plantS-for-salt” materials will end
up. Laura Mohr indicated that she felt Dave Clark was fishing for information on the Company
and/or attempting to get Laura Mohr on WlLKlNSON’s side by hiring her. Laura Mohr asked if

Dave Clark had seen TlMOTHY McKENNA. Dave Clark replied that since TlMOTHY

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McKENNA owed so much money to WlLKlNSON that they were “stuck with him [TlMOTHY
MCKENNA].”
COUNT I

Aiding and Abetting Breach of Fiduciary Duty
(vs. All Defendants)

271. Plaintiffs incorporate by reference paragraphs l through 256 as if set forth
herein at length.

272. Under Pennsylvania law, a cause of action exists for aiding and abetting a
breach of fiduciary duty pursuant to Section 876 of the Restatement (Second) of Torts.

273. The elements of a cause of action for aiding and abetting a breach of
fiduciary duty are: (l) a breach of a fiduciary duty owed to another; (2) knowledge of the breach
by the aider and abettor; and (3) substantial assistance or encouragement by the aider and abettor
in effecting that breach.

274. ln each of the transactions described in paragraphs 47 through 256
heretofore, TlMOTHY MCKENNA and MlCHAEL MCKENNA by virtue of their positions
with the Plaintiffs owed a fiduciary duty to the Plaintiffs

275. ln each of the transactions described in paragraphs 47 through 256
heretofore, the defendants named therein in each specific transaction were aware that TlMOTHY
MCKENNA and MlCHAEL MCKENNA by virtue of their positions with the Plaintiffs owed a
fiduciary duty to the Plaintiffs

276. As a result of the aiding and abetting a breach of fiduciary duty averred
herein, Plaintiffs have suffered damages

277. ln each of the transactions described in paragraphs 47 through 256
heretofore, the defendants named therein in each specific transaction gave substantial assistance
or encouragement to Tll\/IOTHY MCKENNA and MlCHAEL MCKENNA and they each,

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individually and severally aided and abetted in effecting the various breaches of fiduciary duty
by TIMOTHY MCKENNA and MlCHAEL MCKENNA.
278. As a result of the aiding and abetting a breach of fiduciary duty averred
herein, Plaintiffs have suffered damages
WHEREFORE, Plaintiffs demand judgment in their favor together with interest
costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.
COUNT II

Civil Conspiracy
(vs. All Defendants)

279. Plaintiffs incorporate by reference paragraphs 1 through 261 as if set forth
herein at length.

280. To state a valid claim for civil conspiracy in Pennsylvania, a party must
show that: “two or more persons combined or agreed with intent to do an unlawful act or to do
any otherwise lawful act by unlawful means”

281. ln each of the transactions described in paragraphs 47 through 256
heretofore, the defendants individually and severally conspired to assist TIMOTHY MCKENNA
and MlCHAEL MCKENNA to engage in the following acts:

a. Conversion;

b. breach of fiduciary duty;

c. theft of services;

d. fraud;

e. intentional interference with contractual relationships

f. intentional interference with prospective contractual relationships

282. As a result of the conspiracy averred herein, Plaintiffs have suffered

damages

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ln each of the transactions described in paragraphs 47 through 256 heretofore, the
defendants named therein in each specific transaction gave substantial assistance or
encouragement to TlMOTHY MCKENNA and MlCHAEL MCKENNA and they each,
individually and severally aided and abetted in effecting the various breaches of fiduciary duty
by Tll\/IOTHY MCKENNA and MlCHAEL MCKENNA.
WHEREFORE, Plaintiffs demand judgment in their favor together with interest

costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.

cessna

Conduct and Participation in an Enterprise through a Pattern of
Racketeering Activity in Violation of the Racketeer Influenced and Corrupt

Organizations Act (“RICO”), 18 U.S.C. §1962(c)
(All Plaintiffs v. All Defendants)

283. Plaintiffs incorporate herein by reference each of the foregoing allegations
as if fully set forth at length.

284. LG, AWS, GSBB, LGH, GAUDIOSO and LGSM are each a “person”
under 18 U.S.C. §§ 1961(3) and 1962(0).

285. TlMOTHY McKENNA, MlCHAEL MCKENNA, MAT SlTE
MANAGEMENT, AERENSON, PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON
BUlLDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESIZE,
WRlGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKI, NORMAN AERONSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER, are each a “person” under 18

U.s.C. §§ 1961(3)and1962(c).

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286. TlMOTHY MCKENNA, MlCHAEL MCKENNA, MAT SlTE
MANAGEMENT, AERENSON, PETTlNARO, MEYERS, WlLKlNSON, WlLKlNSON
BUlLDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KIBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESlZE,
WRlGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKI, NORMAN AERONSON,
PURSELL, lSKEN ENTERPRISES, l\/IOON, and FRONTIER were a group of persons
associated in fact for the common purpose conducting the unlawful and fraudulent scheme
described in this Complaint (the “l\/ICKENNA” Enterprise”); namely, fraudulently and
unlawfully seizing and/or asserting functional control over the Plaintiffs and their liquid assets
and depleting those assets through a variety of unlawful and unauthorized transfers and other
actions that (1) funneled money to Tll\/IOTHY MCKENNA, MlCHAEL MCKENNA, MAT SlTE
MANAGEMENT, AERENSON, PETTlNARO, MEYERS, WlLKlNSON, WlLKlNSON
BUlLDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, , ALAN PERRY, TRESIZE,
WRlGHT, ALCARAZ, STRIVE FORCE MJL, HYNANSKI, NORMAN AERONSON,
PURSELL, lSKEN ENTERPRlSES, MOON, and FRONTIER; and (2) financially and
professionally benefited TIMOTHY MCKENNA, MlCHAEL MCKENNA, MAT SlTE
MANAGEMENT, AERENSON, PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON
BUlLDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,

PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, , ALAN PERRY, TRESIZE,

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WRlGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKI, NORMAN AERONSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER.

287. The MCKENNA Enterprise constitutes an “enterprise” within the meaning
of 18 U.S.C. §1961(4) and §1962(0), which “enterprise” was engaged in activities affecting
interstate commerce, including but not limited to the business of the Plaintiffs which are
Pennsylvania limited partnerships or limited liability companies doing business in the
Commonwealth of Pennsylvania, Delaware, New Jersey and elsewhere.

288. As detailed in the Tll\/lOTHY MCKENNA, MlCHAEL MCKENNA, MAT
SITE MANAGEMENT, AERENSON, PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON
BUlLDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, , ALAN PERRY, TRESIZE, '
WRlGHT, ALCARAZ, STRIVE FORCE MJL, HYNANSKI, NORMAN AERENSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER , and CHRISTOPHER W.
WR_IGHT were, and are, each associated with the MCKENNA Enterprise and have conducted or
participated in the affairs of the MCKENNA Enterprise in relationship to the Plaintiffs through a
pattern of activity unlawful under 18 U.S.C. 1961(a); specifically, multiple, repeated violations
of 18 U.S.C. §1341(pertaining to mail fraud) and 18 U.S.C.§1343 (pertaining to wire fraud).

289. As described herein and detailed below, TlMOTHY McKENNA,
MlCHAEL McKENNA, MAT SlTE MANAGEMENT, AERENSON, PETTINARO, MEYERS,
WlLKlNSON, WlLKlNSON BUlLDERS, TECHNIVATE, DiDONATO, EAISE, EAISE
DESIGN EAISE SNOW SERVICES, HAINES & KlBBLEHOUSE, lNC., JULlCHER,

JULlCHER, DON lSKEN, PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M,

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ALAN PERRY, TRESIZE, WRlGHT, ALCARAZ, STRIVE FORCE MJL, HYNANSKI,

NORMAN AERENSON, PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER each

agreed to and participated in the conduct of the MCKENNA Enterprise by engaging in a “pattern

of racketeering activity” within the meaning of 18 U.S.C. §§ 1961(1) and (5).

290. The pattern of racketeering activity consisted of and was furthered by acts

constituting of mail and wire fraud in violation of 18 U.S.C. §§ 1341 and 1343. Specifically, by

way of example but not limitation:

a) TlM MCKENNA ~ See Exhibit “A”

1.

3/24/ 14 - Tim received cash using Charlie Gaudioso’s Amex at Centre
Exxon

3/15/ 13 ~ Tim charged Company AMEX at Wilkinson for cash.
Early 2013 ~ Tim signed a confession admitting to fraudulently using
the Company AMEX to get cash. lt is believed that these ‘bounce
backs’ were charged through Wilkinson’s merchant account

4/27/ 13 - Tim sent the Company Walsh Contract to Ed Morgan, Sr
and Dave Falcone of Saul Ewing.\

5/1/14 ~ MJL wires payment to Tim’s personal bank account, not
McKenna American.

b) MlCHAEL MCKENNA - See Exhibit “B”

1.

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3/24/ 14 ~ Michael took cash Tim received at Centre Exxon using
Charlie Gaudioso’s Amex, deposited it into Tim’s bank accounts and
fraudulently wrote on the receipts that the purchase was for fuel cards

12/16/ 14 - Michael paid the Company a customer’s outstanding debt
This customer is one that Tim and Michael arranged free work, after
his resignation.

10/15/14 - Michael, using the Company’s weather service, emailed a
weather report to Robin, Jackie, and Vicki at Longview after he was
working for MAT Site Management and MAT had Longview
contracts and while still employed by the Company.

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d)

4.

10/13/14 ~ Michael, using the Company’s weather service, emailed a
weather report to Tim after Tim was fired for cause and Michael was
working for MAT Site Management and MAT had Longview
contracts and while still employed by the Company.

Various dates in 2014 - Michael using Company email to do work for
Tim, unrelated to Company business before and after Tim was fired
for cause.

4/26/ 13 - Michael’s reservation at Homewood Suites owned by the
lsken and site of “free” snow work.

MAT Site Management ~ See Exhibit “C”

1.

7/3/ 14 ~ Email regarding Glen Eyre project The Company never bid
or heard of this project lt is suspected Tim bid and/or contracted the
project under MAT.

BOBBY AERENSON/NORl\/IAN AERENSON - See Exhibit “D”

1.

On or about 5/1/ 14 - The Company sent Aerenson a statement
showing amount due for snow services Aerenson mailed the statement
back with a hand written note saying “Paid in full. See Tim”.

6/2/ 14 - The Company emailed Aerenson requesting explanation for
the “See Tim” written on his statement Aerenson emailed back, “See
Tim”.

PETTINARO - See Exhibit “E”

10/1/14 - Hal Simmons email.

6/8/ 14 ~ Email regarding the vacant lot where the Company did work
but was not paid due to arrangement between Tim and Bobby
Aerenson, Pettinaro told Charles Gaudioso that Pettinaro was partners
with Aerenson on that project

MEYERS - See Exhibit “F”

1.

8/4-5/ 14 - Email between lra Gerber and Charles Gaudioso discussing
the 825k.

5/ 30/ 13 - Email regarding Saul Ewing contract and Mica quarry.
6/5/ 13 - Email between Frank Alcaraz and Bernie Meyers regarding

factoring

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g) WlLKlNSON/WlLKlNSON BUlLDER »- See Exhibit “G”

1. 12/3 0/ 13 ~ Email from Elisa at Technivate indicates that part of a
payment made by the Company to Technivate was used to pay Charles
Wilkinson back a debt owed by Tim.

2. 2013-2014 ~ Charles Wilkinson wired significant sums into Tim’s
bank account, supporting Tim’s activities against the Company.

3. 12/11/13 - Wilkinson purchase orders for basements at a low 8600
rate and Wilkinson disputing amounts on other invoices from the
Company.

h) TECHNIVATE ~ See Exhibit “H”

1. January-March 2014 ~ Technivate mailed invoices to the Company for
work performed at Polly Drummond Shopping Center. The Company
paid Technivate for snow services but the Company was not paid by
Bobby Aerenson, owner of the center, due to an agreement between
Aerenson and Tim for free snow work.

2. On or about 3/13/ 14 - Technivate did not invoice the Company for salt
until the end of the season because it was using the Company’s salt
Tim had fraudulently delivered to the center. Technivate is owned by
longtime Tim cohort Charles Wilkinson.

i) THOMAS DlDONATO/CENTRE EXXON - See Exhibit “l”

1. 3/24/ 14 - Thomas DiDonato charged Charles Gaudioso’s Amex and
gave Tim the cash, fraudulently indicating on the receipts that the
charges were for “parts” and “gift card”.

2. 2/ 17/ 14 plus others ~ Thomas DiDonato charged fees on Charles
Gaudioso’s credit card (disguised as “parts”) which is illegal (?)

Visa ana' MasterCara' prohibit surcharges, ana' American Express
discourages them Amex a'oes prohibit "a'iscrimination" against the
Amex cara', however, so if a merchant accepts Visa ana' MasterCara'
(ana’ cannot impose a surcharge una'er those companies' rules), the
merchant may not discriminate against Amex bv imposing a

surcharge

j) EAlSE, EAlSE DESIGN & LANDSCAPING, LLC, EAlSE SNOW
SERVICES, LLC - See Exhibit “J”

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k)

1)

4/ 8/ 14 - Emailed invoice 45 54 that is fraudulent as it is on the
Company’s list of invoices that Eaise double charged u

4/8/ 14 - Emailed invoice 4555 that is fraudulent as it is on the
Company’s list of invoices that Eaise double charged us.

HAINES & KlBBLEHOUSE, lNC. ~ See Exhibit “K”

12/6/ 13 - H&K faxed new contract to Michael, unbeknownst to the
Company, with inflated rates

2. On or about 11/19/ 14 - H&K mailed invoice with inflated rates

HANK JULlCHER/MARGIT JULlCHER/CHRlS WRlGHT ~ See

Exhibit “L”

1. 4/22/ 14 - Emailed Tim personal loan agreement

2. 4/18/14 - Emailed Tim regarding work to be done at Julicher’s house
that the Company was never intended to be paid for.

3. 9/23/ 14 ~ Email from Chris Wright regarding Company financial
records

4. 6/4/ 14 - Email from Chris Wright to Tim regarding MJL salt deal.

DON lSKEN/PAUL lSKEN/lSKEN ENTERPRISES - See Exhibit “l\/l”

1.

5/2/ 14 - One of a significant number of emails between Don and Paul
lsken and Tim pressuring and threatening Tim about the money owed
to the lsken by Tim.

4/28/ 14 - Another email pressuring Tim for payment, this one
referencing Tim’s salt deal with MJL.

On or about 4/15/ 14 ~ lnvoice sent to Homewood Suites/lsken for
snow services

6/5/ 14 - lsken’s response to Tim forwarding him an email from Chris
Wright having to do with the MJL salt deal.

LONGVIEW ~ See Exhibit “N”

1.

9/9/ 14 - Email from Jackie Scanzello to Laura Mohr asking for the
Excel file of the contract Tll\/l dropped off.10/15/14 - Michael
emails WeatherWorks report to Robin, Jackie, and Vicki after

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p)

q)

MAT is formed and has Longview contracts and before he quits
the Company.

SlBLEY/M&M LANDSCAPING _ See Exhibit “O”

1. On or about 12/17/13 - Mailed invoice #1052 from M&M showing
services at a marquee customer when AWS labor was onsite.

2. 1/13/14 - Mailed invoice #1110 from M&M showing services at a
marquee customer when AWS labor was onsite.

HYNANSKI/ PERRY - See Exhibit “P”

1. On or about 11/7/ 13 - Letter mailed to Tim from Allen Perry regarding
work at Pond’s Edge.

2. 10/11/13 - Email from Allen Perry to Michael regarding Pond’s Edge
and mentioning money owed to John Hynansky.

TRESIZE ~ See Exhibit “Q”
1. 2013-2014 - Mary was Tim’s assistant and kept a hand written ledger
of Tim’s bank accounts and made hand written notations regarding the

status of transactions

2. 2014 - Emails between Mary, Tim, and lndian Valley regarding past
due payments returned checks and stop payments

ALCARAZ/STRIVE FORCE ~ See Exhibit “R”
1. On or about 2/2/ 14 - F rank Alcaraz mailed or emailed an invoice to
the Company for snow labor at Met Life Stadium. One of the

laborer’s checks was never delivered and is believed to be fraudulent

2. 6/5/ 13 - Email between Frank Alcaraz and Bernie Meyers regarding
factoring

MJL ~ See Exhibit “S”
1. 3/18/15 - MJL emailing Tim bid documents
2. 11/14/14 - MJL emailing Ron Coruzzi cancelling contract

3. 5/1/ 14 - MJL wires payment directly to Tim’s personal bank account
not to McKenna American.

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4. 6/16/14 - MJL email to Tim asking for Charles Wilkinson’s email
address

t) MOON NURSERIES/PURSELL ~ See Exhibit “T”

l. 11/14/14 - Email from Chris Wright to Jim Porter discussing
“negotiations” with Moon regarding amounts owed to the Company.

2. 1/10/14 ~ Email from Tim to John Pursell advising of a “solution”.

3. 1/28/ 14 ~ Email from John Pursell to Charlie Gaudioso regarding the
8250K worth of plants

4. 1/23/ 14 - Email from John Pursell to Charlie Gaudioso regarding the
8250K worth of plants

u) SAUL EWlNG - See Exhibit “U”

1. 8/3 1/ 12 - Email from Saul Ewing with invoice to the Company for
McKenna business

2. 6/6/ 14 ~ Email from John Snyder to Tim advising Tim on the MJL salt
deaL

291. The scheme to defraud the Plaintiffs and unlawfully deplete their assets
accomplished through the commission of the acts set forth above in violation of federal and state
laws left Plaintiffs undercapitalized, unable to pay for expenses or to execute their business
plans and forced them to default on or forgo business opportunities at significant losses

292. As a direct and proximate cause of the aforementioned violations of 18
U.S.C. §1962(0) by Tll\/IOTHY McKENNA, MlCHAEL McKENNA, MAT SITE
MANAGEMENT, AERENSON, PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON
BUILDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVlCES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESIZE,

WRlGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKI, NORMAN AERENSON,

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PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER, each of the Plaintiffs suffered
substantial injury to business and/or property within the meaning of 18 U.S.C §1964(c) in an
amount to be determined at trial.

WHEREFORE, Plaintiffs demand judgment in their favor together with interest

costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.

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Acquisition and Maintenance of an Interest in and Control of
an Enterprise Engaged in a Pattern of Racketeering Activity in
Violation of RlCO, 18 U.S.C. §1962(b)

(All Plaintiffs v. All Defendants)

293. Plaintiffs incorporate herein by reference each of the foregoing allegations
as if fully set forth at length.

294. At various times and places as alleged in this Complaint and enumerated
in Plaintiffs’ documentary material, Tll\/IOTHY MCKENNA, MlCHAEL MCKENNA, MAT
SlTE MANAGEMENT, AERENSON, PETTlNARO, MEYERS, WlLKlNSON, WlLKlNSON
BUlLDERS, TECHNIVATE, DiDONATO, EAlSE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVlEW MANAGEMENT, SlBLEY, M&M, HEATH, ALAN PERRY,
TRESIZE, WRlGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKl, NORMAN
AERENSON, PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER acquired and/or
maintained, directly or indirectly, an interest in or control of each of the Plaintiffs whose
activities affected interstate commerce, in violation of 18 U.S.C. §1962(b).

295. As detailed in this Complaint e.g., supra at 11 290, 310, 326 and 331,
TlMOTHY MCKENNA, MlCHAEL MCKENNA, MAT SlTE MANAGEMENT, AERENSON,

PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON BUlLDERS, TECHNIVATE,

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DiDONATO, EAISE, EAISE DESIGN EAISE SNOW SERVICES, HAINES &
KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN, PAUL lSKEN, LONGVIEW
MANAGEMENT, SlBLEY, M&M, HEATH, ALAN PERRY, TRESIZE, WRIGHT,
ALCARAZ, STRIVE FORCE MJL, HYNANSKI, NORMAN AERENSON, PURSELL, lSKEN
ENTERPRISES, MOON, and FRONTIER each committed two or more of the RICO predicate
acts that are itemized at 18 U.S.C. §§1961(1)(A) and (B), and did so in violation of 18 U.S.C.
§1962(b) in order to further their own interests by and through their control of the Plaintiffs

296. Tll\/IOTHY McKENNA, MlCHAEL McKENNA, MAT SITE
MANAGEMENT, AERENSON, PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON
BUILDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KIBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, , ALAN PERRY, TRESIZE,
WRIGHT, ALCARAZ, STRIVE FORCE MJL, HYNANSKI, NORMAN AERENSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER, by and through their active
participation in and/or by exercising control over Plaintiffs in violation of 18 U.S.C. §1962(b),
caused each of those entities to be undercapitalized unable to pay for expenses or execute their
business plans and forced them to default on obligations and/or lose business opportunities and
suffer significant losses

297. As a direct and proximate cause of the aforementioned violations of 18
U.S.C. §1962(b) by, Plaintiffs suffered substantial injury to business and/or property within the
meaning of 18 U.S.C §1964(0) in an amount to be determined at trial.

WHEREFORE, Plaintiffs demand judgment in their favor together with interest

costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.

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QQ_I_M_Y_
Conspiracy to Engage in a Pattern of Racketeering

Activity in Violation of RICO, 18 U.S.C.§1962(d)
(All Plaintiffs v. All Defendants)

298. Plaintiffs incorporate herein by reference each of the foregoing allegations
as if fully set forth at length.

299. TlMOTHY MCKENNA, MlCHAEL McKENNA, MAT SlTE
MANAGEMENT, AERENSON, PETTlNARO, MEYERS, WlLKlNSON, WlLKlNSON
BUILDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVICES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESIZE,
WRIGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKI, NORMAN AERENSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER conspired amongst themselves
within the meaning of 18 U.S.C. §1962(d) to violate 18 U.S.C. §1962(0) by agreeing to conduct
and participate, directly and indirectly, in the conduct of the affairs of the MCKENNA Enterprise
through a pattern of racketeering activity as detailed in this Complaint The agreement of
TlMOTHY McKENNA, MlCHAEL MCKENNA, MAT SlTE MANAGEMENT, AERENSON,
PETTlNARO, MEYERS, WlLKlNSON, WlLKlNSON BUILDERS, TECHNIVATE,
DiDONATO, EAISE, EAISE DESIGN EAISE SNOW SERVICES, HAINES &
KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN, PAUL lSKEN, LONGVIEW
MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESIZE, WRlGHT, ALCARAZ,
STRIVE FORCE MJL, HYNANSKI, NORMAN AERENSON, PURSELL, lSKEN
ENTERPRISES, MOON, and FRONTIER was in violation of 18 U.S.C. §1962(d).

300. Alternatively, TlMOTHY McKENNA, MlCHAEL McKENNA, MAT
SlTE MANAGEMENT, AERENSON, PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON

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BUILDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW
SERVlCES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESlZE,
WRlGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKl, NORMAN AERENSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER conspired within the meaning of
18 U.S.C. §1962(d) to violate 18 U.S.C. §1962(b), by agreeing to conduct and participate in a
scheme to acquired and/or maintain, directly or indirectly, an interest in or control of Plaintiffs in
order to plunder their assets for their individual and/or collective gain.

301. TIMOTHY MCKENNA, MlCHAEL MCKENNA, MAT SITE
MANAGEMENT, AERENSON, PETTlNARO, MEYERS, WlLKlNSON, WlLKlNSON
BUILDERS, TECHNIVATE, DiDONATO, EAlSE, EAISE DESIGN EAISE SNOW
SERVlCES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,
PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESIZE,
WRlGHT, ALCARAZ, STRlVE FORCE MJL, HYNANSKI, NORMAN AERENSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER committed and caused to be
committed a series of overt predicate acts of racketeering in furtherance of their conspiracy,
mdmmgbmnmhmmmunwmemwd%mHmMntCbmmmm.@qupsmnam82mt
310, 326 and 331.)

302. As a direct and proximate cause of the aforementioned violations of 18
U.S.C. §1962(d) by TlMOTHY MCKENNA, MlCHAEL MCKENNA, MAT SlTE
MANAGEMENT, AERENSON, PETTINARO, MEYERS, WlLKlNSON, WlLKlNSON
BUILDERS, TECHNIVATE, DiDONATO, EAISE, EAISE DESIGN EAISE SNOW

SERVlCES, HAINES & KlBBLEHOUSE, lNC., JULlCHER, JULlCHER, DON lSKEN,

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PAUL lSKEN, LONGVIEW MANAGEMENT, SlBLEY, M&M, ALAN PERRY, TRESIZE,
WRIGHT, ALCARAZ, STRIVE FORCE MJL, HYNANSKI, NORMAN AERENSON,
PURSELL, lSKEN ENTERPRISES, MOON, and FRONTIER , Plaintiffs suffered substantial
injury to business and/or property within the meaning of 18 U.S.C §1964(0) in an amount to be
determined at trial.

WHEREFORE, Plaintiffs demand judgment in their favor together with interest
costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.

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Fraud
(vs. all Defendants)

303. Plaintiffs incorporate by reference paragraphs 1 through 256 as if set forth
herein at length.

304. The elements of fraud under Pennsylvania law are (1) a material factual
misrepresentation; (2) made with knowledge or belief of its falsity; (3) with the intention that the
other party rely thereon; (4) resulting in justifiable reliance to that party to his detriment

305. Under Pennsylvania law, fraud can consist of anything calculated to
deceive, whether by single act or combination or by suppression of truth or suggestion of what is
false.

306. Under Pennsylvania law, Fraudulent concealment is simply a type of
fraudulent misrepresentation, the concealment substituting for false words so long as the matters
concealed were material to the transaction

307. Silence does constitute concealment sufficient for a finding of fraud if
there is a duty to speak.

308. The reckless assertion of a fact in conscious ignorance of its truth or

falsity amounts to actionable fraud

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309. The breach of a confidential or fiduciary relationship constitutes
“constructive” or “implied” or “1egal” fraud
310. ln each of the transactions described in paragraphs 47 through 256

heretofore, the defendants individually and severally engaged in fraud to the detriment of the
plaintiffs Specifically , the following group of defendants acted in concert to defraud Plaintiffs:

a. As to WlLKlNSON, Tll\/IOTHY MCKENNA, MlCHAEL
MCKENNA, Bobby Aerenson, Pettinaro, Plaintiffs incorporate paragraphs 45-78 herein at
length;

b. As to DiDonato, Tll\/lOTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 78-88 herein at length;

c. As to EAISE, TIMOTHY MCKENNA, MlCHAEL MCKENNA,
Pulaski & Sons Construction Company, Plaintiffs incorporate paragraphs 89-111 herein at
length;

d. As to HAINES & KlBBLEHOUSE, TlMOTHY MCKENNA,
MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 112-120 herein at length;

e. As to Hank Julicher, Margit Julicher, MAT Site Management
TIMOTHY MCKENNA, MlCHAEL MCKENNA, Moon Nurseries Chris Wright Plaintiffs
incorporate paragraphs 121-126 herein at length;

f. As to HYNANSKY, WlLKlNSON, PERRY, TIMOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 127-133 herein at

length;

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g. As to DON lSKEN, PAUL lSKEN, TlMOTHY MCKENNA, and
MlCHAEL MCKENNA, Bobby Aerenson, Pettinaro, Plaintiffs incorporate paragraphs 134-137
herein at length;

h. As to LONGVIEW, TlMOTHY MCKENNA, MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 138-146 herein at length;

i. As to MATTHEW SlBLEY, TlMOTHY MCKENNA, and
MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 147-156 herein at length;

j. As to TlMOTHY MCKENNA and MlCHAEL MCKENNA,
Plaintiffs incorporate paragraphs 45-270 herein at length;

k. As to MOON NURSERIES, CHRlS WRlGHT, HANK
JULlCHER, TlMOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate
paragraphs 225-241 hereniatlength;

1. As to SAUL EWlNG, JOHN SNYDER, DAVlD FALCONE,
TlMOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 242-
251 hereniatlengdt

m. As to FRANK ALCARAZ, STRlVE FORCE, TlMOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 252-260 herein at
length;

n. As to CHARLES WlLKlNSON, FRANK ALCARAZ,
TECHNIVATE, lNC., BOBBY AERENSON, TlMOTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 261-270 herein at length.

311. As a result of the fraud averred herein, Plaintiffs have suffered damages

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WHEREFORE, Plaintiffs demand judgment in their favor together with interest
costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.
Count VII

Breach of Fiduciary Duty
(vs. Timothy McKenna and Michael McKenna)

312. Plaintiffs incorporate by reference paragraphs 1 through 295 as if set forth
herein at length.

313. Under Pennsylvania law, a confidential relationship, along with the
fiduciary duty, may arise where the parties have relationships such as: guardian and ward,
attorney and client principal and agent or where the facts and circumstances so indicate and are
apparent on the record

314. A party in whom the trust and confidence of another are reposed must act
with scrupulous fairness and good faith in his dealings with the other, and refrain from using his
position to the other’s detriment and his own advantage.

315. Thus transactions between persons occupying confidential relationship
are prima facie voidable, and this presumption of fraud must be rebutted by the party seeking to
enforce the transaction.

316. Thus if in a transaction between the parties who stand in a relationship of
trust and confidence, the party in whom the confidence is reposed obtains an apparent advantage
over the other, he is presumed to have obtained that advantage fraudulently; and if he seeks to
support the transaction, he must assume the burden of proof that he has taken no advantage of his
influence or knowledge and that the arrangement is fair and conscientious

317. A confidential relationship exists “whenever one occupies toward another
such a position of advisor or counsellor as reasonably to inspire confidence that he will act in

good faith for the other’s interest.”

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318. Under Pennsylvania law, a confidential relationship is deemed to exist
whenever the relative position of the parties is such that one has power and means to take
advantage of or exercise undue influence over the other.

319. TlMOTHY MCKENNA and MlCHAEL MCKENNA held a fiduciary and
confidential relationship of trust with the Plaintiffs

320. TIMOTHY MCKENNA and MlCHAEL MCKENNA breached their
fiduciary and confidential relationship of trust with the Plaintiffs

321. As to the instances of breaches of trust by TlMOTHY MCKENNA and
MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 47-257 herein at length.

322. As a result of the breaches of trust averred herein, Plaintiffs have suffered
damages

WHEREFORE, Plaintiffs demand judgment in their favor together with interest
costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.

Count VIII

Conversion
(vs. All Defendants)

323. Plaintiffs incorporate by reference paragraphs 1 through 306 as if set forth
herein at length.

324. Under Pennsylvania law, conversion is the deprivation of another’s right
of property in, or use or possession of, a chattel, without the owner’s consent and without lawful
justification

325. Under Pennsylvania law, conversion is unreasonably withholding

possession from one who has the right to property, including money.

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326. ln each of the transactions described in paragraphs 47 through 256
heretofore, the defendants individually and severally engaged in fraud to the detriment of the
plaintiffs Specifically , the following group of defendants acted in concert to defraud Plaintiffs:

a. As to WlLKlNSON, TlMOTHY MCKENNA, MlCHAEL
MCKENNA, BOBBY AERENSON, PETTlNARO, Plaintiffs incorporate paragraphs 45-78
herein at length;

b. As to DlDONATO, TlMOTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 79-88 herein at length;

c. As to EAISE, TIMOTHY MCKENNA, MlCHAEL MCKENNA,
Pulaski & Sons Construction Company, Plaintiffs incorporate paragraphs 89-111 herein at
lengdt

d. As to HAINES & KlBBLEHOUSE, TIMOTHY MCKENNA,
MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 112-120 herein at length;

e. As to HANK JULlCHER, MARGIT JULlCHER, MAT SITE
MANAGEMENT, TIMOTHY MCKENNA, MlCHAEL MCKENNA, MOON NURSERIES,
CHRlS WRIGHT, Plaintiffs incorporate paragraphs 121-126 herein at length;

f. As to HYNANSKY, WlLKlNSON, PERRY, TIMOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 127-133 herein at
length;

g. As to DON lSKEN, PAUL lSKEN, TlMOTHY MCKENNA, and
MlCHAEL MCKENNA, BOBBY AERENSON, PETTlNARO, Plaintiffs incorporate

paragraphs 143-137 herein at length;

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h. As to LONGVIEW, Tll\/lOTHY MCKENNA, MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 138-146 herein at length;

i. As to MATT SlBLEY, TlMOTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 147-156 herein at length;

j. As to TlMOTHY MCKENNA and MlCHAEL MCKENNA,
Plaintiffs incorporate paragraphs 45-270 herein at length; l

k. As to MOON NURSERIES, CHRlS WRIGHT, HANK
JULlCHER, TlMOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate
paragraphs 225-241 herehiatlength;

1. As to SAUL EWlNG, JOHN SNYDER, DAVlD FALCONE,
TlMOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 242-
251 hereniatlength;

m. As to FRANK ALCARAZ, STRlVE FORCE, Tll\/IOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 252-260 herein at
length;

n As to CHARLES WlLKlNSON, FRANK ALCARAZ,
TECHNIVATE, lNC., BOBBY AERENSON, TlMOTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 261-270 herein at length.

327. As a result of the conversion averred herein, Plaintiffs have suffered
dannages
WHEREFORE, Plaintiffs demand judgment in their favor together with interest

costs and attorneys’ fees as permitted by law in an amount in excess of 8150,000.00.

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Count IX
Negligent Misrepresentation
(vs. All Defendants)

328. Plaintiffs incorporate by reference paragraphs 1 through 311 as if set forth
herein at length.

329. Under Pennsylvania law, the elements of a claim for negligent
misrepresentation are: (1) One who, in the course of his business profession or employment or
in any other transaction in which he has a pecuniary interest supplies false information for the
guidance of others in their business transactions is subject to liability for pecuniary loss caused
to them by their justifiable reliance upon the information, if he fails to exercise reasonable care
or competence in obtaining or communicating the information

330. A defendant is liable for losses sustained by (a) the person for whose
benefit and guidance the defendant intends to supply the information; and (b) through reliance
upon it in a transaction that the defendant intends the information to influence or in a
substantially similar transaction

331. ln each of the transactions described in paragraphs 47 through 256
heretofore, the defendants individually and severally engaged in negligent misrepresentation to
the detriment of the plaintiffs

a. As to WlLKlNSON, Tll\/IOTHY MCKENNA, MlCHAEL
MCKENNA, BOBBY AERENSON, PETTINARO, Plaintiffs incorporate paragraphs 45-78
herein at length;

b. As to DlDONATO, TlMOTHY MCKENNA, and MlCHAEL

MCKENNA, Plaintiffs incorporate paragraphs 78-88 herein at length;

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c. As to EAISE, TlMOTHY MCKENNA, MlCHAEL MCKENNA,
Pulaski & Sons Construction Company, Plaintiffs incorporate paragraphs 89-111 herein at
length;

d As to HAINES & KlBBLEHOUSE, TlMOTHY MCKENNA,
MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 112-120 herein at length;

e. As to HANK .lULlCHER, MARGIT .lULlCHER, MAT Site
Management TlMOTHY MCKENNA, MlCHAEL MCKENNA, Moon Nurseries Chris Wright
Plaintiffs incorporate paragraphs 121-126 herein at length;

f. As to HYNANSKY, WlLKlNSON, PERRY, TIMOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 127-133 herein at
length;

g. As to DON lSKEN, PAUL lSKEN, TIMOTHY MCKENNA, and
MlCHAEL MCKENNA, BOBBY AERENSON, PETTlNARO, Plaintiffs incorporate
paragraphs 134-137 herein at length;

h. As to LONGVlEW, TIMOTHY MCKENNA, MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 138-146 herein at length;

i. As to MATTHEW SlBLEY, TlMOTHY MCKENNA, and
MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 147-156 herein at length;

j. As to TlMOTHY MCKENNA and MlCHAEL MCKENNA,
Plaintiffs incorporate paragraphs 45-270 herein at length;

k. ` As to MOON NURSERIES, CHRlS WRlGHT, HANK
.lULlCHER, TlMOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate

paragraphs 225-241 herein at length;

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1. As to SAUL EWlNG, JOHN SNYDER, DAVlD FALCONE,
TlMOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 242-
251 herein at length;
m. As to FRANK ALCARAZ, STRIVE FORCE, TlMOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 252-260 herein at
length;
n. As to CHARLES WlLKlNSON, FRANK ALCARAZ,
TECHNIVATE, lNC., BOBBY AERENSON, TIMOTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 261~270 herein at length.
332. As a result of the negligent misrepresentations averred herein, Plaintiffs
have suffered damages
WHEREFORE, Plaintiffs demand judgment in their favor together with interest
costs in an amount in excess of8150,000.00.

Count X
Tortious Interference With Contract and
Prospective Contractual Arrangements
(vs. All Defendants)

333. Plaintiffs incorporate by reference paragraphs 1 through 315 as if set forth
herein at length.

334. Pennsylvania has specifically adopted the 7 Restatement (Second) of Torts
§ 766, for tortious interference with contract claims which provides that “[o]ne who
intentionally and improperly interferes with the performance of a contract (except a contract to
marry) between another and a third person by inducing or otherwise causing the third person not
to perform the contract is subject to liability to the other for the pecuniary loss resulting to the

other from the failure of the third person to perform the contract.”

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335. The elements of the claim for tortious interference are: (1) the existence of
a contractual, or prospective contractual relation between the complainant and a third party; (2)
purposeful action on the part of the defendant specifically intended to harm the existing relation,
or to prevent a prospective relation from occurring; (3) the absence of privilege or justification
on the part of the defendant and (4) the occasioning of actual damage as a result of the
defendant’s conduct
336. ln each of the transactions described in paragraphs 47 through 256

heretofore, the defendants individually and severally engaged in tortious conduct to interfere in
the contracts of the Plaintiffs to the detriment of the Plaintiffs Specifically , the following group
of defendants acted in concert to engage in tortious conduct to interfere in the contracts of the
Plaintiffs:

a. As to Wilkinson, TlMGTHY MCKENNA, MlCHAEL
MCKENNA, BGBBY AERENSCN, PETTlNARG, Plaintiffs incorporate paragraphs 45-78
hereniatlengdt

b. As to DlDONATO, TIMCTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 78-88 herein at length;

c. As to EAISE, TlMGTHY MCKENNA, MlCHAEL MCKENNA,
Pulaski & Sons Construction Company, Plaintiffs incorporate paragraphs 89-111 herein at
length;

d As to HAINES & KlBBLEHGUSE, TlMGTHY MCKENNA,

MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 112-120 herein at length;

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e. As to HANK JULlCHER, MARGIT JULlCHER, MAT SlTE
MANAGEMENT, Tll\/IOTHY MCKENNA, MlCHAEL MCKENNA, Moon Nurseries Chris
Wright Plaintiffs incorporate paragraphs 121-126 herein at length;

f. As to HYNANSKY, WlLKlNSON, PERRY, Tll\/lOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 127-133 herein at
length;

g. As to DON lSKEN, PAUL lSKEN, Tll\/IOTHY MCKENNA, and
MlCHAEL MCKENNA, BOBBY AERENSON, PETTINARO, Plaintiffs incorporate
paragraphs 134-137 herein at length;

h. As to LONGVIEW, TlMOTHY MCKENNA, MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 138-146 herein at length;

i. As to MATTHEW SlBLEY, Tll\/lOTHY MCKENNA, and
MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 147-156 herein at length;

j. As to TlMOTHY MCKENNA and MlCHAEL MCKENNA,
Plaintiffs incorporate paragraphs 45-270 herein at length;

k. As to MOON NURSERIES, CHRlS WRlGHT, HANK
JULlCHER, Tll\/IOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate
paragraphs 225-241 herein at length;

l. As to SAUL EWlNG, JOHN SNYDER, DAVlD FALCONE,
Tll\/IOTHY MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 242-

251 herein at length;

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m. As to FRANK ALCARAZ, STRIVE FORCE, TlMOTHY
MCKENNA, and MlCHAEL MCKENNA, Plaintiffs incorporate paragraphs 252-260 herein at
length;
n As to CHARLES WlLKlNSON, FRANK ALCARAZ,
TECHNIVATE, lNC., BOBBY AERENSON, TlMOTHY MCKENNA, and MlCHAEL
MCKENNA, Plaintiffs incorporate paragraphs 261-270 herein at length.
337. As a result of the conspiracy averred herein, Plaintiffs have suffered
damages
WHEREFORE, Plaintiffs demand judgment in their favor together with interest
costs and attorneys’ fees in an amount in excess of 8150,000.00.
JURY TRIAL DEMAND

Plaintiffs demand a trial by jury on all issues of law and fact

WHITE AND WILLIAMS LLP

 

By:

 

Kevin F. \iBerr/ §
White and William LLP
1650 Market Street

One Liberty Place, Suite 1800
Philadelphia, PA 19103

PH: 215.864.6290/FX: 215.789.7654
berryk@whiteandwilliams.com
Dated: September 15, 2016
Attorneys for Plaintiffs

 

Dated: .FE@Q\)AQ/\/ 7} ceO/r]

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VERIFICATION

l, Charles Gaudioso, Plaintiff in the above captioned matter, hereby verify that l am an
adult individual; I am authorized to make this verification on behalf,of myself, Laurel Gardens,
LLC, American Winter Services, LLC, Laurel Garden Holdings LLC and LGSM, GP; l verify
that the statements made in the foregoing Complaint are true and correct to the best of my
knowledge, information and belief. The undersigned understands that the statements made
therein are subject to the penalties of 18 Pa.C.S. §4904, relating to unsworn falsification to

authorities

CHARLES GAUDIoso

Date: February 6, 2017

